 Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 1 of 50 PageID 175
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1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
2                             FORT WORTH DIVISION

3     UNITED STATES OF AMERICA,    ) CASE NO. 4:20-CR-244-O
                Government,        )
4                                  ) FORT WORTH, TEXAS
      VERSUS                       )
5                                  ) OCTOBER 19, 2020
      DERRICK DAEYON MURRELL (01), )
6               Defendant.         ) 2:10 P.M.

7     --------------------------------------------------------------
8     UNITED STATES OF AMERICA,         ) CASE NO. 4:20-CR-246-O
                Government,             )
9                                       ) FORT WORTH, TEXAS
      VERSUS                            )
10                                      ) OCTOBER 19, 2020
      RICKY BADLEY (01),                )
11              Defendant.              ) 2:10 P.M.

12    --------------------------------------------------------------

13    UNITED STATES OF AMERICA,         ) CASE NO. 4:20-CR-264-O
                Government,             )
14                                      ) FORT WORTH, TEXAS
      VERSUS                            )
15                                      ) OCTOBER 19, 2020
      ANTONIO Q. LOPEZ (01),            )
16              Defendant.              ) 2:10 P.M.
17    --------------------------------------------------------------

18                             VOLUME 1 OF 1
         TRANSCRIPT OF REARRAIGNMENT OR GUILTY PLEA AT ARRAIGNMENT
19                 BEFORE THE HONORABLE JEFFREY CURETON
                   UNITED STATES MAGISTRATE COURT JUDGE
20

21    A P P E A R A N C E S:

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 Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 2 of 50 PageID 176
                                                                             2



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15    Proceedings reported by mechanical stenography, transcript

16    produced by computer.
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 Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 3 of 50 PageID 177
                                                                             3



1                                    I N D E X

2     PROCEEDING                                                  PAGE

3     Admonishments....................................            04

4     Guilty Pleas.....................................            33
5     Court's Findings.................................            36

6     Detention Re: Murrell............................            39

7     Reporter's Certificate...........................            43
8     Word Index.......................................            44

9

10
11

12

13
14

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19
20

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 Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 4 of 50 PageID 178
                                                                             4



1                              P R O C E E D I N G S

2                        October 19, 2020 - 2:10 p.m.

3                 (Participants wearing masks)

4                 COURT SECURITY OFFICER:      All rise.
5                 (Judge enters)

6                 THE COURT:    Thank you.    Please be seated.

7                 All right.    The Court has three cases that are set
8     for guilty plea at arraignment or rearraignment.

9                 Let's call Cause Number 4:20-CR-244, United States

10    versus Derrick Murrell.
11                Is it Murrell?

12                DEFENDANT MURRELL:     Murrell, sir.

13                THE COURT:    Murrell.
14                So Ms. Brandie Wade is present for the government in

15    all cases, and Mr. William Cox is present for Mr. Murrell.

16                Cause Number 4:20-CR-246, United States versus Ricky
17    Badley.

18                And Mr. John Donahue is present for the defense.

19                MR. DONAHUE:    Yes, sir.
20                THE COURT:    Cause Number 4:20-CR-264, United States

21    versus Antonio Lopez.

22                And Mr. Navid Alband is present for the defendant.
23                MR. ALBAND:    Afternoon, Your Honor.

24                THE COURT:    Very good.    Is the government ready to

25    proceed?


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 Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 5 of 50 PageID 179
                                                                             5



1                 MS. WADE:    We are, Your Honor.
2                 THE COURT:    Are all defendants ready to proceed?

3                 Mr. Cox?

4                 MR. COX:    Yes, Your Honor.
5                 THE COURT:    Mr. Donahue?

6                 DEFENDANT BADLEY:     Yes, Judge.

7                 THE COURT:    And Mr. Alband?
8                 MR. ALBAND:    We're ready.

9                 THE COURT:    All right.    For this proceeding, I need

10    to have each of the defendants placed under oath.            Could I ask
11    you all to stand for just a moment, raise your right hand, and

12    be sworn by my clerk.

13                (Three (3) defendants sworn)
14                THE COURT:    Okay.   Thank you.     You may be seated.

15                There will be some questions propounded to you.            You

16    are allowed to wear the mask, if you wish, but please speak up
17    nice and loud and clear if you do wear the mask.            My court

18    reporter and I both need to hear your responses.            You are free

19    to lower your mask to the extent you feel safe in doing so.
20    We are trying to keep some social distance here, but let's

21    proceed.

22                Would you state your full name for the record,
23    beginning with Mr. Murrell.

24                DEFENDANT MURRELL:     Derrick Daeyon Murrell.

25                THE COURT:    Thank you.    And the middle name is


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 Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 6 of 50 PageID 180
                                                                             6



1     spelled D-A-E-Y-O-N?
2                 DEFENDANT MURRELL:     Yes, sir.

3                 THE COURT:    Thank you.

4                 Mr. Badley?
5                 DEFENDANT BADLEY:     Ricky Lynn Badley.

6                 THE COURT:    Thank you.

7                 And Mr. Lopez?
8                 DEFENDANT LOPEZ:     Antonio Cornell (phonetic) Lopez.

9                 THE COURT:    Is your name spelled correctly in the

10    indictment or information that has been charged against you?
11                Mr. Murrell?

12                DEFENDANT MURRELL:     Yes, sir.

13                THE COURT:    Mr. Badley?
14                DEFENDANT BADLEY:     Yes, sir.

15                THE COURT:    Mr. Lopez?

16                DEFENDANT LOPEZ:     Yes.
17                THE COURT:    Do each of you understand that you are

18    now under oath and if you answer any of the Court's questions

19    falsely, your answers may later be used against you in a
20    prosecution for perjury or for making a false statement?

21                Do you understand, Mr. Murrell?

22                DEFENDANT MURRELL:     Yes, sir.
23                THE COURT:    Mr. Badley?

24                DEFENDANT BADLEY:     Yes, sir.

25                THE COURT:    And Mr. Lopez?


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 Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 7 of 50 PageID 181
                                                                             7



1                 DEFENDANT LOPEZ:     Yes, sir.
2                 THE COURT:    You all speak, read, and write the

3     English language?

4                 Mr. Murrell?
5                 DEFENDANT MURRELL:     Yes, sir.

6                 THE COURT:    Mr. Badley?

7                 DEFENDANT BADLEY:     Yes, sir.
8                 THE COURT:    And Mr. Lopez?

9                 DEFENDANT LOPEZ:     Yes, sir.

10                THE COURT:    Do each of you understand that I am
11    conducting this hearing, rather than the district judge in

12    your case, based upon your consent; however, it's the district

13    judge who retains all final decision-making authority over
14    your plea, and it's the district judge who will conduct any

15    sentencing in your case?

16                You understand that, Mr. Murrell?
17                DEFENDANT MURRELL:     Yes, sir.

18                THE COURT:    Mr. Badley?

19                DEFENDANT BADLEY:     Yes, sir.
20                THE COURT:    And Mr. Lopez?

21                DEFENDANT LOPEZ:     Yes, sir.

22                THE COURT:    I have been provided this afternoon
23    documents entitled Consent to Administration of Guilty Plea

24    and Allocution by United States Magistrate Judge, and these

25    consent forms appear to be signed by each of you and your


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 Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 8 of 50 PageID 182
                                                                             8



1     attorney.    Is it your signature on your consent form?
2                 Mr. Murrell?

3                 DEFENDANT MURRELL:     Yes, sir.

4                 THE COURT:    Mr. Badley?
5                 DEFENDANT BADLEY:     Yes, sir.

6                 THE COURT:    And Mr. Lopez?

7                 DEFENDANT LOPEZ:     Yes, sir.
8                 THE COURT:    Then I find that each of you have

9     knowingly and voluntarily waived your right to enter a guilty

10    plea before the district judge, and you've consented to
11    proceed before me in that plea today.

12                Let me give you some general instructions.          You may,

13    if you choose, plead not guilty to any offense charged against
14    you or persist in that plea if it's already been made, and if

15    you plead not guilty, the Constitution of the United States

16    guarantees you the following rights:
17                You have the right to a speedy and public jury trial

18    in this district.

19                You have the right at such a trial for you to
20    confront, that is, to see, hear, and cross-examine all

21    witnesses against you.

22                You have the right to use the power and the process
23    of this court to compel the production of any evidence,

24    including the attendance of any witnesses on your behalf.

25                You have the right to have the assistance of an


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 Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 9 of 50 PageID 183
                                                                             9



1     attorney at all stages of the proceedings, and if you could
2     not afford an attorney, I would appoint an attorney for you.

3                 At such a trial, you could not be compelled to

4     testify, and whether you would testify would be a matter in
5     which your judgment alone would control.

6                 At such a trial, the United States would be required

7     to prove your guilt beyond a reasonable doubt, and if you were
8     found guilty, you would have the right to appeal that

9     conviction.

10                Do each of you understand that you have and are
11    guaranteed each of those constitutional rights?

12                Mr. Murrell?

13                DEFENDANT MURRELL:     Yes, sir.
14                THE COURT:    Mr. Badley?

15                DEFENDANT BADLEY:     Yes, sir.

16                THE COURT:    Mr. Lopez?
17                DEFENDANT LOPEZ:     Yes, sir.

18                THE COURT:    On the other hand, if you plead guilty

19    and if that guilty plea is accepted by the Court, there will
20    not be a further trial of any kind.          So that by pleading

21    guilty, you waive your right to a trial, as well as those

22    rights associated with a trial as we've just discussed.
23                Do you understand, Mr. Murrell?

24                DEFENDANT MURRELL:     Yes, sir.

25                THE COURT:    Mr. Badley?


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 10 of 50 PageID 184
                                                                             10



1                DEFENDANT BADLEY:      Yes, sir.
2                THE COURT:     And Mr. Lopez?

3                DEFENDANT LOPEZ:      Yes, sir.

4                THE COURT:     Generally, a defendant who is accused of
5     a crime cannot plead guilty unless he is actually guilty of

6     that crime.    In federal court, it is the judge who determines

7     the penalty when a defendant is convicted, whether that
8     conviction is on the basis of a jury verdict or upon a plea of

9     guilty.

10               The Court has not and will not talk to anyone about
11    the facts of your case, except here in your presence, where

12    you and your attorney and representatives of the government

13    are all present.     However, if a guilty verdict is entered, a
14    presentence report will be prepared and the Court may review

15    that report with probation officers outside of your presence.

16               If you plead guilty, you will be convicted; however,
17    you and your attorney each will be given an opportunity to

18    present to the Court any pleas for leniency.           The penalty will

19    be decided based upon the facts heard in court.
20               You should never depend or rely upon any promise or

21    statement by anyone, whether connected with law enforcement or

22    the government or anyone else, as to what penalty will be
23    assessed against you.

24               Should you decide to plead guilty, your plea of

25    guilty must not be induced or prompted by any promises,


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 11 of 50 PageID 185
                                                                             11



1     pressure, threats, force, or coercion of any kind.            A plea of
2     guilty must be purely voluntary, and you should plead guilty

3     only because you are guilty and for no other reason.

4                Do each of you understand each of my explanations
5     about the consequences and the process involved in pleading

6     guilty?

7                Mr. Murrell?
8                DEFENDANT MURRELL:      Yes, sir.

9                THE COURT:     Mr. Badley?

10               DEFENDANT BADLEY:      Yes, sir.
11               THE COURT:     Mr. Lopez?

12               DEFENDANT LOPEZ:      Yes, sir.

13               THE COURT:     Under the Sentencing Reform Act of 1984,
14    as it has been construed by our Supreme Court, the United

15    States Sentencing Commission has issued advisory guidelines

16    for judges to consider in determining the sentence in a
17    criminal case.

18               Have each of you discussed with your attorney the

19    charges against you, the matter of sentencing, and how those
20    sentencing guidelines might apply in your case?

21               Have you done so, Mr. Murrell?

22               DEFENDANT MURRELL:      Yes, sir.
23               THE COURT:     Mr. Badley?

24               DEFENDANT BADLEY:      Yes, sir.

25               THE COURT:     And Mr. Lopez?


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 12 of 50 PageID 186
                                                                             12



1                DEFENDANT LOPEZ:      Yes, sir.
2                THE COURT:     Even so, I must inform you that in

3     determining a sentence, it is the Court's obligation to

4     calculate the applicable sentencing guideline range, to
5     consider that range along with any possible departures under

6     the guidelines and any other sentencing factors under 18

7     U.S.C. Section 3553(a).
8                The Court is not bound by facts that may be

9     stipulated between you and your attorney on the one hand and

10    the government on the other.       The Court can impose punishment
11    that might disregard stipulated facts or take into account

12    facts that are not mentioned in stipulations, and in that

13    event, you might not even be permitted to withdraw your plea
14    of guilty.

15               The Court will not be able to determine the proper

16    guideline range for your case until after that presentence
17    report has been completed and both you and the government have

18    had an opportunity to challenge the facts and the conclusions

19    that are in that report.
20               After the Court has determined the proper guideline

21    range under the facts of your case, the Court has the

22    authority to impose a sentence that is above, below, or within
23    the guideline range as long as the sentence imposed is

24    reasonable and it's based upon the facts and the law.

25               You have the right to appeal the sentence the Court


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 13 of 50 PageID 187
                                                                             13



1     imposes, unless you waive that right.
2                And under some circumstances, the government also

3     has the right to appeal.

4                Finally, I inform you that within the federal
5     system, parole has been abolished, so that if you are

6     sentenced to imprisonment, you will not be released on any

7     federal parole.
8                Do each of you understand all of the explanations

9     I've given with regard to sentencing?

10               Mr. Murrell?
11               DEFENDANT MURRELL:      Yes, sir.

12               THE COURT:     Mr. Badley?

13               DEFENDANT BADLEY:      Yes, sir.
14               THE COURT:     And Mr. Lopez?

15               DEFENDANT LOPEZ:      Yes, sir.

16               THE COURT:     All right.     Let me ask you some
17    individual questions at this time.

18               How old are you, Mr. Murrell?

19               DEFENDANT MURRELL:      42.
20               THE COURT:     Mr. Badley?

21               DEFENDANT BADLEY:      44.

22               THE COURT:     Mr. Lopez?
23               DEFENDANT LOPEZ:      34.

24               THE COURT:     And how far did each of you go in

25    school?


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 14 of 50 PageID 188
                                                                             14



1                Mr. Murrell?
2                DEFENDANT MURRELL:      I graduated.

3                THE COURT:     High school?

4                DEFENDANT MURRELL:      Yes, sir.
5                THE COURT:     Thank you, sir.

6                Mr. Badley?

7                DEFENDANT BADLEY:      Bachelor's.
8                THE COURT:     And Mr. Lopez?

9                DEFENDANT LOPEZ:      Tenth grade.

10               THE COURT:     Are you currently or within the last six
11    months have you been under the care of a physician or a

12    psychiatrist?

13               Mr. Murrell?
14               DEFENDANT MURRELL:      No, sir.

15               THE COURT:     Mr. Badley?

16               DEFENDANT BADLEY:      No, sir.
17               THE COURT:     Mr. Lopez?

18               DEFENDANT LOPEZ:      No, sir.

19               THE COURT:     Have any of you been recently
20    hospitalized or treated for narcotics addiction or alcoholism?

21               Mr. Murrell?

22               DEFENDANT MURRELL:      No, sir.
23               THE COURT:     Mr. Badley?

24               DEFENDANT BADLEY:      No, sir.

25               THE COURT:     Mr. Lopez?


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 15 of 50 PageID 189
                                                                             15



1                DEFENDANT LOPEZ:      No, sir.
2                THE COURT:     Are you now under the influence of

3     alcohol or any narcotic drug?

4                Mr. Murrell?
5                DEFENDANT MURRELL:      No, sir.

6                THE COURT:     Mr. Badley?

7                DEFENDANT BADLEY:      No, sir.
8                THE COURT:     Mr. Lopez?

9                DEFENDANT LOPEZ:      No, sir.

10               THE COURT:     Do any of you suffer from any emotional
11    or mental disability?

12               Mr. Murrell?

13               DEFENDANT MURRELL:      No, sir.
14               THE COURT:     Mr. Badley?

15               DEFENDANT BADLEY:      No, sir.

16               THE COURT:     Mr. Lopez?
17               DEFENDANT LOPEZ:      No, sir.

18               THE COURT:     Are you of sound mind and do you fully

19    understand what it is we're doing here this afternoon?
20               Mr. Murrell?

21               DEFENDANT MURRELL:      Yes, I do.

22               THE COURT:     Mr. Badley?
23               DEFENDANT BADLEY:      Yes, sir.

24               THE COURT:     And Mr. Lopez?

25               DEFENDANT LOPEZ:      Yes, sir.


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 16 of 50 PageID 190
                                                                             16



1                THE COURT:     To defense counsel, do you have any
2     reason to believe your client is not fully competent to enter

3     a plea of guilty?

4                Mr. Cox?
5                MR. COX:    He's competent, Your Honor.

6                THE COURT:     Mr. Donahue?

7                MR. DONAHUE:     I do not, Judge.
8                THE COURT:     Mr. Alband?

9                MR. ALBAND:     No, Your Honor.

10               THE COURT:     And do each of you believe that the
11    guilty plea your client proposes to make will be a knowing and

12    voluntary plea?

13               Mr. Cox?
14               MR. COX:    Yes, Your Honor.

15               THE COURT:     Mr. Donahue?

16               MR. DONAHUE:     Yes, Judge.
17               THE COURT:     And Mr. Alband?

18               MR. ALBAND:     Yes.

19               THE COURT:     Now, defendants Badley and Lopez are
20    pleading pursuant to informations, so I need to go over that

21    process with each of you for a moment.

22               You are each charged with felony offenses, and you
23    may not be charged with a felony unless a grand jury finds by

24    the return of an indictment that there's probable cause to

25    believe that the felony occurred and that you committed it.


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 17 of 50 PageID 191
                                                                             17



1     However, you may waive your right to indictment by the grand
2     jury and consent to being charged by way of an information

3     filed by the United States Attorney's Office.

4                 The felony charges against Mr. Badley are in a
5     two-count superseding information, and as to Mr. Lopez, a

6     one-count information.

7                 If you do not waive indictment and the government
8     wishes to pursue these charges against you, the government

9     must present its case to a grand jury and request the return

10    of an indictment on those charges.
11                A grand jury is composed of at least 16, but not

12    more than 23 persons, and at least 12 grand jurors must find

13    that there is probable cause to believe that you committed the
14    offenses with which you're charged before you would be

15    indicted.    So, a grand jury might or it might not indict you

16    on these charges in your informations.
17                But if you waive indictment by the grand jury, the

18    case will proceed against you based on the information filed

19    by the U.S. Attorney just as though you had been indicted.
20                So I ask each of you:      Have you discussed with your

21    attorney the matter of waiving your right to indictment by the

22    grand jury, and do you fully understand that right?
23                Mr. Badley?

24                DEFENDANT BADLEY:     Yes, sir.

25                THE COURT:    Mr. Lopez?


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 18 of 50 PageID 192
                                                                             18



1                DEFENDANT LOPEZ:      Yes, sir.
2                THE COURT:     Have any threats or promises been made

3     in an effort to induce you to waive indictment?

4                Mr. Badley?
5                DEFENDANT BADLEY:      No, sir.

6                THE COURT:     Mr. Lopez?

7                DEFENDANT LOPEZ:      No, sir.
8                THE COURT:     Is it your signature that appears on the

9     written waiver of indictment in your case that has been filed?

10               Mr. Badley?
11               DEFENDANT BADLEY:      Yes, sir.

12               THE COURT:     And Mr. Lopez?

13               DEFENDANT LOPEZ:      Yes, sir.
14               THE COURT:     Let me just ask defense counsel, do you

15    have any reason that your client should not waive indictment?

16               Mr. Donahue?
17               MR. DONAHUE:     No, Judge.

18               THE COURT:     Mr. Alband?

19               MR. ALBAND:     No, Your Honor.
20               THE COURT:     And is such waiver consistent with your

21    advice?

22               Mr. Donahue?
23               MR. DONAHUE:     It is, Judge.

24               THE COURT:     And Mr. Alband?

25               MR. ALBAND:     It is.


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 19 of 50 PageID 193
                                                                             19



1                THE COURT:     All right.    The Court is satisfied that
2     each of the defendant's waiver of indictment is knowingly and

3     voluntarily made and is accepted here in court.

4                Have you received a copy of that two-count
5     information, Mr. Badley?

6                DEFENDANT BADLEY:      Yes, sir.

7                THE COURT:     And your information, Mr. Lopez?
8                DEFENDANT LOPEZ:       Yes, sir.

9                THE COURT:     Okay.   Have you received a copy of your

10    indictment, Mr. Murrell?
11               DEFENDANT MURRELL:      Yes.

12               THE COURT:     All right.    Have each of you read or had

13    read to you the charges against you, and do you fully
14    understand the nature of those charges?

15               Mr. Murrell?

16               DEFENDANT MURRELL:      Yes, I do.
17               THE COURT:     Mr. Badley?

18               DEFENDANT BADLEY:      Yes, sir.

19               THE COURT:     Mr. Lopez?
20               DEFENDANT LOPEZ:       Yes, sir.

21               THE COURT:     It would be appropriate at this time for

22    the United States Attorney to read your charges here in open
23    court; however, as a time-saving matter, I will allow you to

24    waive the reading of your charges.

25               Do you wish to waive that reading, Mr. Murrell?


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 20 of 50 PageID 194
                                                                             20



1                DEFENDANT MURRELL:      Yes.
2                THE COURT:     Mr. Badley?

3                DEFENDANT BADLEY:      Yes, sir.

4                THE COURT:     Mr. Lopez?
5                DEFENDANT LOPEZ:      Yes, sir.

6                THE COURT:     You also have the right to have

7     explained to you the essential elements of the offense.            This
8     is what the government would be required to prove at your

9     trial.   These are set forth in a factual resume, which we're

10    going to get to in a few minutes if you want to look on, but I
11    am going to ask the United States Attorney to now set forth

12    the essential elements as to each offense the defendant

13    proposes to plead guilty.
14               Please listen carefully as your case is called.

15               We'll begin with Mr. Murrell.

16               MS. WADE:    The government must prove:
17               First, that the defendant knowingly possessed a

18    controlled substance.

19               Second, that the substance was, in fact,
20    methamphetamine.

21               Third, that the defendant possessed the substance

22    with the intent to distribute it.
23               And fourth, that the quantity of the substance

24    involved 50 grams or more of a mixture or substance containing

25    a detectable amount of methamphetamine, a Schedule II


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                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 21 of 50 PageID 195
                                                                             21



1     controlled substance.
2                THE COURT:     And Mr. Murrell, do you understand and

3     admit that you committed all of the essential elements of that

4     offense?
5                DEFENDANT MURRELL:      Yes, sir.

6                THE COURT:     As to Mr. Badley?

7                MR. DONAHUE:     Judge, I don't know if this would be
8     appropriate or not, but Mr. Badley would be willing to waive

9     the reading of the charges.

10               THE COURT:     All right.    Of the essential elements?
11               MR. DONAHUE:     Yes, sir.

12               THE COURT:     Let me ask you, Mr. Badley, have you

13    reviewed carefully the essential elements of the offense
14    charged against you?

15               DEFENDANT BADLEY:      Yes, sir.

16               THE COURT:     Do you understand each of those
17    essential elements?

18               DEFENDANT BADLEY:      Yes, sir.

19               THE COURT:     Do you admit that you committed each of
20    the essential elements of the offenses charged in Counts 1 and

21    2 of your superseding information?

22               DEFENDANT BADLEY:      Yes, sir.
23               THE COURT:     Are you asking the Court to waive their

24    reading here in open court?

25               DEFENDANT BADLEY:      Yes, sir.


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                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 22 of 50 PageID 196
                                                                             22



1                THE COURT:     All right.    I will grant that.
2                As to Mr. Lopez?

3                DEFENDANT LOPEZ:      Yes, sir.

4                MS. WADE:    The essential elements are:
5                First, that two or more persons, directly or

6     indirectly, reached an agreement to distribute or possess with

7     intent to distribute a controlled substance as charged in the
8     indictment -- in the information.

9                Second, that the defendant knew of the unlawful

10    purpose of the agreement.
11               Third, that the defendant joined in the agreement

12    willfully, that is, with the intent to further its unlawful

13    purpose.
14               Fourth, that the overall scope of the conspiracy

15    involved a mixture or substance containing a detectable amount

16    of cocaine, a Schedule II controlled substance.
17               And fifth, that the defendant knew or reasonably

18    should have known that the scope of the conspiracy involved a

19    mixture or substance containing a detectable amount of
20    cocaine, a Schedule II controlled substance.

21               THE COURT:     All right.    Mr. Lopez, do you understand

22    and admit that you committed each of the essential elements of
23    that offense?

24               DEFENDANT LOPEZ:      Yes, sir.

25               THE COURT:     Each of you are appearing here today


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                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22    Page 23 of 50 PageID 197
                                                                              23



1     with counsel, and you've indicated to me that you have
2     discussed with your attorney the charges against you, the

3     matter of sentencing, and how the sentencing guidelines might

4     apply in your case.
5                Are each of you fully satisfied with the

6     representation and legal advice that you have received from

7     your attorney?
8                Is that true for you, Mr. Murrell?

9                DEFENDANT MURRELL:      Yes, sir.

10               THE COURT:     Mr. Badley?
11               DEFENDANT BADLEY:      Yes, sir.

12               THE COURT:     Mr. Lopez?

13               DEFENDANT LOPEZ:      Yes, sir.
14               THE COURT:     There are plea agreements in each of the

15    cases before the Court, so we need to go over some documents

16    for a minute.
17               For Mr. Badley, I have a document entitled Plea

18    Agreement.

19               For Mr. Murrell and Mr. Lopez, it is Plea Agreement
20    with Waiver of Appeal.

21               I note that there is a waiver of appeal also in

22    Mr. Badley's, it's just not in the title.
23               So, I do not see any supplements, plea agreement

24    supplements, in any of the cases.           I will refer to it as your

25    plea agreement or the plea documents.


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                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 24 of 50 PageID 198
                                                                             24



1                Have each of you read or had read to you your plea
2     document and do you understand the document fully?

3                Mr. Murrell?

4                DEFENDANT MURRELL:      Yes.
5                THE COURT:     Mr. Badley?

6                DEFENDANT BADLEY:      Yes, sir.

7                THE COURT:     Mr. Lopez?
8                DEFENDANT LOPEZ:      Yes, sir.

9                THE COURT:     Is it your signature that you've put on

10    your plea agreement?
11               Mr. Murrell?

12               DEFENDANT MURRELL:      Yes, sir.

13               THE COURT:     Mr. Badley?
14               DEFENDANT BADLEY:      Yes, sir.

15               THE COURT:     And Mr. Lopez?

16               DEFENDANT LOPEZ:      Yes, sir.
17               THE COURT:     By placing your signature upon this

18    document, are you asking the Court to accept and approve your

19    agreement with the government?
20               Mr. Murrell?

21               DEFENDANT MURRELL:      Yes.

22               THE COURT:     Mr. Badley?
23               DEFENDANT BADLEY:      Yes, sir.

24               THE COURT:     Mr. Lopez?

25               DEFENDANT LOPEZ:      Yes, sir.


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                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 25 of 50 PageID 199
                                                                             25



1                THE COURT:     As I indicated, there's a waiver of
2     appeal paragraph in each plea agreement.          It's paragraph 10 in

3     each of the agreements.      I just want to direct your attention

4     specifically to that paragraph and ask you:
5                Did you read and fully understand your waiver of

6     appeal paragraph?

7                Mr. Murrell?
8                DEFENDANT MURRELL:      Yes, sir.

9                THE COURT:     Mr. Badley?

10               DEFENDANT BADLEY:      Yes, sir.
11               THE COURT:     Mr. Lopez?

12               DEFENDANT LOPEZ:      Yes, sir.

13               THE COURT:     Did you discuss it with your attorney,
14    Mr. Murrell?

15               DEFENDANT MURRELL:      Yes, I did.

16               THE COURT:     And Mr. Badley?
17               DEFENDANT BADLEY:      Yes, sir.

18               THE COURT:     Mr. Lopez?

19               DEFENDANT LOPEZ:      Yes, sir.
20               THE COURT:     Do you knowingly and voluntarily waive

21    your right to appeal as set forth in paragraph 10 of your plea

22    agreement?
23               Mr. Murrell?

24               DEFENDANT MURRELL:      Yes.

25               THE COURT:     Mr. Badley?


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                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 26 of 50 PageID 200
                                                                             26



1                DEFENDANT BADLEY:      Yes, sir.
2                THE COURT:     Mr. Lopez?

3                DEFENDANT LOPEZ:      Yes, sir.

4                THE COURT:     Are all of the terms of your agreement
5     with the government set forth in the written plea agreement?

6                Mr. Murrell?

7                DEFENDANT MURRELL:      Yes, sir.
8                THE COURT:     Mr. Badley?

9                DEFENDANT BADLEY:      Yes, sir.

10               THE COURT:     Mr. Lopez?
11               DEFENDANT LOPEZ:      Yes, sir.

12               THE COURT:     And did you voluntarily and of your own

13    free will enter into this plea agreement with the government?
14               Mr. Murrell?

15               DEFENDANT MURRELL:      Yes, sir.

16               THE COURT:     Mr. Badley?
17               DEFENDANT BADLEY:      Yes, sir.

18               THE COURT:     And Mr. Lopez?

19               DEFENDANT LOPEZ:      Yes, sir.
20               THE COURT:     Other than the written plea agreement,

21    has anyone made any promise or assurance to you of any kind in

22    an effort to induce you to enter a plea of guilty in your
23    case?

24               Mr. Murrell?     Do you need me to repeat it?

25               DEFENDANT MURRELL:      Yes.


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                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22    Page 27 of 50 PageID 201
                                                                              27



1                THE COURT:     Other than what's in this written plea
2     agreement, has anyone made any promise or assurance to you of

3     any kind in an effort to induce you to enter a plea of guilty

4     in your case?
5                DEFENDANT MURRELL:      No, sir.

6                THE COURT:     Okay.   And Mr. Badley?

7                DEFENDANT BADLEY:      No, sir.
8                THE COURT:     Mr. Lopez?

9                DEFENDANT LOPEZ:       No, sir.

10               THE COURT:     All right.    I note that each of the plea
11    agreements are on file in each of your cases.

12               I do need to ask:      Has anyone mentally, physically,

13    or in any other way attempted to force you to plead guilty in
14    your case?

15               Mr. Murrell?

16               DEFENDANT MURRELL:      No, sir.
17               THE COURT:     Mr. Badley?

18               DEFENDANT BADLEY:      No, sir.

19               THE COURT:     Mr. Lopez?
20               DEFENDANT LOPEZ:       No, sir.

21               THE COURT:     Do each of you understand that if your

22    plea of guilty is accepted, you will be adjudged guilty of the
23    charge or charges against you, and your punishment will be

24    assessed somewhere within the range of punishment that is

25    provided by legal statute?


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                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 28 of 50 PageID 202
                                                                             28



1                Do you understand, Mr. Murrell?
2                DEFENDANT MURRELL:      Yes, sir.

3                THE COURT:     Mr. Badley?

4                DEFENDANT BADLEY:      Yes, sir.
5                THE COURT:     And Mr. Lopez?

6                DEFENDANT LOPEZ:      Yes, sir.

7                THE COURT:     Are you a citizen of the United States,
8     Mr. Murrell?

9                DEFENDANT MURRELL:      Yes, I am.

10               THE COURT:     Mr. Badley?
11               DEFENDANT BADLEY:      Yes, sir.

12               THE COURT:     Mr. Lopez?

13               DEFENDANT LOPEZ:      Yes, sir.
14               THE COURT:     So, as citizens, I need to inform you

15    that the offense to which you're pleading guilty is a felony,

16    and conviction of a felony may deprive you of valuable rights
17    of your citizenship, such as the right to vote, to hold public

18    office, to ever serve on a jury, to ever possess any kind of

19    firearm, and other valuable rights.
20               Do each of you understand that consequence?

21               Mr. Murrell?

22               DEFENDANT MURRELL:      Yes, sir.
23               THE COURT:     Mr. Badley?

24               DEFENDANT BADLEY:      Yes, sir.

25               THE COURT:     And Mr. Lopez?


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                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 29 of 50 PageID 203
                                                                             29



1                DEFENDANT LOPEZ:      Yes, sir.
2                THE COURT:     I'm going to once again call upon the

3     United States Attorney to now state the potential penalties

4     for and consequences of conviction for the charge to which
5     each defendant proposes to plead guilty.

6                MS. WADE:    For Mr. Murrell:      A $5 million fine; and

7     not less than 5 years imprisonment and not more than 40 years
8     imprisonment; plus a term of supervised release of not less

9     than 4 years; if the defendant violates any condition of

10    supervised release, the Court may revoke such term of
11    supervised release and require the defendant to serve an

12    additional period of confinement; further, the Court must

13    impose a mandatory special assessment of $100.
14               THE COURT:     Mr. Murrell, do you understand that if

15    you plead guilty, you may be subject to those penalties and

16    consequences just explained?
17               DEFENDANT MURRELL:      Yes, sir.

18               THE COURT:     All right.    As to Mr. Badley.

19               MS. WADE:    As to Count 1 of his superseding
20    information includes:      Imprisonment for a period not to exceed

21    5 years; a fine not to exceed $250,000, or both such fine and

22    imprisonment; a term of supervised release of not more than 3
23    years, which may be mandatory under the law and will follow

24    any term of imprisonment; if the defendant violates the

25    conditions of supervised release, the Court may revoke such


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                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 30 of 50 PageID 204
                                                                             30



1     release term and the defendant would be imprisoned for an
2     additional term of confinement; multiple revocations of

3     supervised release may result in a term of imprisonment that

4     exceeds the maximum term of supervised release; a mandatory
5     special assessment of $100; restitution to victims or to the

6     community, which may be mandatory under the law; and costs of

7     incarceration and supervision.
8                As to Count 2:     A term of imprisonment for not more

9     than 20 years; a fine up to the amount of $250,000, or twice

10    the pecuniary gain or twice the pecuniary loss; a term of
11    supervised release of 5 years up to any term of years to life;

12    if the defendant violates any condition of the term of

13    supervised release, the Court may revoke such release term and
14    require that the defendant serve an additional period of

15    confinement; a mandatory special assessment of $100.

16               Unless the Court finds the defendant to be indigent,
17    an additional mandatory special assessment of $5,000 must also

18    be imposed pursuant to 18 U.S.C. Section 3014 for offenses

19    occurring on or after May 29th, 2015; an assessment of up to
20    $17,000 pursuant to 18 U.S.C. Section 2259A; restitution of

21    not less than 3,000 per victim, which is mandatory under the

22    law --
23               THE COURT:     You may skip 8.

24               MS. WADE:    Costs of incarceration and supervision.

25               THE COURT:     All right.    Mr. Badley, do you


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                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 31 of 50 PageID 205
                                                                             31



1     understand that if you plead guilty, you may be subject to the
2     penalties and consequences just explained to you and as set

3     forth in your factual resume?

4                DEFENDANT BADLEY:      Yes, sir.
5                THE COURT:     And then finally as to Mr. Lopez.

6                DEFENDANT LOPEZ:      Yes, sir.

7                MS. WADE:    Imprisonment for a period of not more
8     than 20 years; a fine not to exceed $1 million, or both a fine

9     and imprisonment; a mandatory term of supervised release of at

10    least 3 years, which is mandatory under the law and will
11    follow any term of imprisonment; revocation of the term of

12    supervised release could result in an additional period of

13    confinement; the effect of a revocation of a term of
14    supervised release is to make the overall period of

15    incarceration longer; a $100 mandatory special assessment;

16    costs of incarceration and supervision; and restitution to the
17    victim or to the community, which may be mandatory under the

18    law, and which defendant agrees may include restitution

19    arising from all relevant conduct not limited to that arising
20    from the offense of conviction alone.

21               THE COURT:     Now, Mr. Lopez, do you understand that

22    if you plead guilty, you may be subject to the penalties and
23    the consequences just explained?

24               DEFENDANT LOPEZ:      Yes, sir.

25               THE COURT:     Do each of you understand that if the


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                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 32 of 50 PageID 206
                                                                             32



1     sentence you receive is more severe than you might expect,
2     you'll still be bound by your plea of guilty, and you'll have

3     no right to withdraw it?

4                Mr. Murrell?
5                DEFENDANT MURRELL:      Yes, sir.

6                THE COURT:     Mr. Badley?

7                DEFENDANT BADLEY:      Yes, sir.
8                THE COURT:     And Mr. Lopez?

9                DEFENDANT LOPEZ:      Yes, sir.

10               THE COURT:     There is language in each plea agreement
11    to the effect that the government will not bring additional

12    charges or will dismiss other pending charges at your

13    sentencing.    Therefore, the district judge must decide whether
14    to accept each of your plea agreements.          If the Court were to

15    reject your agreement, you would then have the right to

16    withdraw your guilty plea and change it to not guilty.
17               Do you understand, Mr. Murrell?

18               DEFENDANT MURRELL:      Yes, sir.

19               THE COURT:     Mr. Badley?
20               DEFENDANT BADLEY:      Yes, sir.

21               THE COURT:     And Mr. Lopez?

22               DEFENDANT LOPEZ:      Yes, sir.
23               THE COURT:     All right.    Do any of you have any

24    questions about anything that we've talked about up to this

25    point?


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Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 33 of 50 PageID 207
                                                                             33



1                Mr. Murrell?
2                DEFENDANT MURRELL:      No, sir.

3                THE COURT:     Mr. Badley?

4                DEFENDANT BADLEY:      No, sir.
5                THE COURT:     Mr. Lopez?

6                DEFENDANT LOPEZ:      No, sir.

7                THE COURT:     Then having heard all of the foregoing,
8     I now ask:

9                How do you plead to the one-count indictment against

10    you, Mr. Murrell, guilty or not guilty?
11               DEFENDANT MURRELL:      Guilty.

12               THE COURT:     Mr. Badley, how do you plead to Counts 1

13    and 2 of the two-count superseding information against you?
14               DEFENDANT BADLEY:      Guilty.

15               THE COURT:     I will enter a plea of guilty as to each

16    count in that superseding information.
17               And then, Mr. Lopez, how do you plead to the

18    one-count information against you, guilty or not guilty?

19               DEFENDANT LOPEZ:      Guilty.
20               THE COURT:     To each defense counsel, is the guilty

21    plea of your client consistent with your advice?

22               Mr. Cox?
23               MR. COX:    Yes, Your Honor.

24               THE COURT:     Mr. Donahue?

25               MR. DONAHUE:     Yes, Judge.


                       Debbie Saenz, CSR, RMR, CRR, TCRR
                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 34 of 50 PageID 208
                                                                             34



1                 THE COURT:    And Mr. Alband?
2                 MR. ALBAND:    It is.

3                 THE COURT:    Then I will accept each of the pleas

4     before the Court on the condition that there is a factual
5     basis to support such pleas, and I do have factual resumes in

6     each of the cases that appear to be signed by each defendant

7     and his counsel.
8                 Is it your signature on your factual resume?

9                 Mr. Murrell?

10                DEFENDANT MURRELL:      Yes.
11                THE COURT:    Mr. Badley?

12                DEFENDANT BADLEY:     Yes, sir.

13                THE COURT:    And Mr. Lopez?
14                DEFENDANT LOPEZ:     Yes, sir.

15                THE COURT:    Did each of you read or have read to you

16    your factual resume, and do you fully understand this
17    document?

18                Mr. Murrell?

19                DEFENDANT MURRELL:      Yes, sir.
20                THE COURT:    Mr. Badley?

21                DEFENDANT BADLEY:     Yes, sir.

22                THE COURT:    Mr. Lopez?
23                DEFENDANT LOPEZ:     Yes, sir.

24                THE COURT:    Are the facts that are stated in your

25    factual resume true and correct?


                       Debbie Saenz, CSR, RMR, CRR, TCRR
                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 35 of 50 PageID 209
                                                                             35



1                Mr. Murrell?
2                DEFENDANT MURRELL:      Yes.

3                THE COURT:     Mr. Badley?

4                DEFENDANT BADLEY:      Yes, sir.
5                THE COURT:     Mr. Lopez?

6                DEFENDANT LOPEZ:      Yes, sir.

7                THE COURT:     To defense counsel, are the facts that
8     are set forth in your client's factual resumes consistent with

9     the true facts as you understand them from your investigation?

10               Mr. Cox?
11               MR. COX:    Yes, Your Honor.

12               THE COURT:     Mr. Donahue?

13               MR. DONAHUE:     Yes, Judge.
14               THE COURT:     And Mr. Alband?

15               MR. ALBAND:     Yes, Your Honor.

16               THE COURT:     It would be appropriate at this time for
17    the stipulated facts out of each factual resume to be read

18    here in open court; however, based on the answers I've

19    received from each defendant and counsel regarding those
20    facts, as a time-saving matter, I will allow you to waive the

21    reading of your facts.

22               Do you wish to waive that reading, Mr. Murrell?
23               DEFENDANT MURRELL:      Yes, sir.

24               THE COURT:     Mr. Badley?

25               DEFENDANT BADLEY:      Yes, sir.


                       Debbie Saenz, CSR, RMR, CRR, TCRR
                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 36 of 50 PageID 210
                                                                             36



1                THE COURT:     And Mr. Lopez?
2                DEFENDANT LOPEZ:      Yes, sir.

3                THE COURT:     I will not require them to be read.           I

4     note that each factual resume is on file in your case.
5                The Court being satisfied with the responses given

6     during this hearing finds that each defendant is fully

7     competent and capable of entering an informed plea, and that
8     his plea of guilty to the charge or charges against him are

9     knowing and voluntary pleas supported by an independent basis

10    in fact containing each of the essential elements of the
11    offense as charged against the defendant.

12               I hereby accept each of your pleas of guilty, and I

13    pronounce you guilty to the offenses to which you have pled.
14               Now, as I indicated earlier in the proceeding, a

15    presentence report will be prepared to assist the Court in

16    sentencing.    You will be asked to give information for that
17    report, and your degree of cooperation could be a factor in

18    the severity of the sentence you receive.

19               Your attorney is ordered to be present at your
20    interview, having a recent familiarity with the sentencing

21    guidelines, and, specifically, Section 3E1.1, application note

22    1(a).
23               A copy of that presentence referral form will be

24    provided to you well in advance of the date of your

25    sentencing, and you'll have an opportunity to make comments on


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                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 37 of 50 PageID 211
                                                                             37



1     it or any objections to it.
2                Because I have conducted this hearing, rather than

3     the district judge in your case, I'm making a written report

4     to your district judge telling him what you have said and done
5     here today and what I have found.

6                I also tell you that if you or your attorney have

7     any objections to anything that I've said or done, those
8     objections must be filed within 14 days from the date of this

9     hearing.

10               My clerk will deliver the presentence referral form
11    to the probation office.      A copy of that form has been

12    provided to each defense counsel, and I simply remind counsel

13    of your responsibility to contact the probation office as soon
14    as practicable for further instruction regarding the

15    presentence investigation.

16               Each of these matters are scheduled to be sentenced
17    on February 5, 2021, at 9:00 a.m. before the Honorable Judge

18    Reed O'Connor.    That will be in the second floor courtroom.

19               Mr. Badley and Mr. Lopez are in the custody of the
20    United States Marshal.      It's appropriate you remain in that

21    custody going forward.

22               As to Mr. Murrell, you have been on conditions of
23    release; however, you've not been in full compliance with

24    those conditions, so at this time I remand you to the custody

25    of the United States Marshal pending further proceedings in


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                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22    Page 38 of 50 PageID 212
                                                                              38



1     your case.
2                 Are there any other matters to consider in

3     connection with the defendants before the Court?

4                 From the government?
5                 MS. WADE:    No, Your Honor.

6                 THE COURT:    From any defendant?

7                 MR. DONAHUE:    No, Judge.
8                 MR. ALBAND:    No, Your Honor.

9                 THE COURT:    That's a no?      I'll take silence as a no.

10                Defendants are remanded to the custody of the United
11    States Marshal.     The attorneys are excused.

12                COURT SECURITY OFFICER:         All rise.

13                MR. COX:    Judge, for Mr. Murrell, he come in
14    compliance.    I don't know if that makes a difference to the

15    Court.

16                THE COURT:    I'm sorry, I couldn't hear you.
17                MR. COX:    He has come into compliance with the --

18    come into compliance.      That was taken right after he got

19    released.    Those positive drug tests were right after he was
20    released, and he was not --

21                THE COURT:    Well, right after he was released, but

22    it's not like it's marijuana that was in his system for 30
23    days.    It's cocaine.    So that would have to be --

24                (Defendant motioning)

25                THE COURT:    I don't know that you want to speak


                       Debbie Saenz, CSR, RMR, CRR, TCRR
                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 39 of 50 PageID 213
                                                                             39



1     right now, but -- I'll tell you what.         Let me go ahead -- I'll
2     hear you out for a moment.

3                Let me remand Mr. Badley and Mr. Lopez to the

4     custody of the marshal, and I'll hear from you in just a
5     moment, Mr. Cox.

6                The attorneys are excused to the extent they don't

7     have further business before the Court.
8                (Two defendants exiting courtroom)

9                THE COURT:     All right.    So, we're still on the

10    record as to United States versus Mr. Derrick Murrell.
11               This is an offense to which I need to find by clear

12    and convincing evidence that he will not present a risk of

13    flight or nonappearance or a danger to the community in order
14    to allow him to remain out on his conditions.

15               I show that he was arrested on August 20 -- no, I'm

16    sorry, August 26, 2020, shows to be the arrest date.
17               And then what I'm seeing in this report is that

18    September 14th, there was a urine specimen at Taft Counseling

19    Center in Wichita Falls that tested positive for cocaine and
20    marijuana.

21               So, I will hear from the defense, but the clear and

22    convincing evidence may be difficult for you.
23               MR. COX:    Well, Judge, it looks like he was released

24    on September 2nd from custody, September 3rd, and it looks

25    like his first UA was that way.        His second UA or the


                       Debbie Saenz, CSR, RMR, CRR, TCRR
                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 40 of 50 PageID 214
                                                                             40



1     subsequent UAs that they had have not had anything in them.
2                He is -- he has provided substantial assistance to

3     the government since that date as well, and so we believe that

4     he's not a danger to the community.         We believe he's not a
5     flight risk, and that he will make all of his court

6     appearances.

7                THE COURT:     Does the government have a position on
8     the issue before the Court?

9                MS. WADE:    Your Honor, we would defer to the Court.

10               THE COURT:     I know it's Mr. Smith's case, so you
11    probably weren't briefed on it.        Do you know what his position

12    is?

13               MS. WADE:    I was not, Your Honor.       I don't know that
14    he was aware that this would be requested to be revisited by

15    the defense, and so I'm not aware of his position in regards

16    to this.   I can --
17               MR. COX:    I talked to him.      He told me he would

18    defer to the Court, too.      He would leave it up to the Court.

19               THE COURT:     Well, what are you doing for a living,
20    Mr. Murrell?    Are you working?

21               DEFENDANT MURRELL:      At the moment, yes.      Yes, we

22    are.   Yes, I am.
23               THE COURT:     What are you doing?

24               DEFENDANT MURRELL:      We're working on our food truck.

25    We have a food truck and at the moment we -- after the LLC


                       Debbie Saenz, CSR, RMR, CRR, TCRR
                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 41 of 50 PageID 215
                                                                             41



1     come through, once that come through, we'll be in full
2     compliance but --

3                 THE REPORTER:    But what?

4                 THE COURT:    You're going to have to lower your mask
5     for a minute.    There you go.

6                 DEFENDANT MURRELL:     We have been getting the LLC

7     together, so we can have our truck in full compliance with the
8     permits and everything, and we'll be working.           It should be in

9     operation within the next two to three weeks with my mother

10    and I.
11                THE COURT:    Your mom?    What kind of food?

12                UNIDENTIFIED FEMALE:      I would --

13                THE COURT:    Not you.
14                UNIDENTIFIED FEMALE:      I'm sorry.

15                DEFENDANT MURRELL:     Soul food, sir.

16                THE COURT:    Okay.   You know, I tell you when I put
17    you on these things that I expect full compliance, and there's

18    cocaine use between when I let you out and your first test on

19    the 14th.    There's just no question about it.         It couldn't
20    have been in your system that long.         Marijuana, I understand,

21    that probably was in your system from before.

22                MR. COX:   Judge, they also told him it was a very
23    low level, and he got some evidence together for that debrief

24    and possibly could have gotten it on his hands, I don't know.

25    They said it was a very low level.


                       Debbie Saenz, CSR, RMR, CRR, TCRR
                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22   Page 42 of 50 PageID 216
                                                                             42



1                THE COURT:     All right.    Well, the government's not
2     jumping up and down right now, so I'm going to take the

3     proffered evidence that I received from your counsel as true.

4                Understand you're on a very short, short leash now,
5     right?

6                DEFENDANT MURRELL:      Yes, Your Honor.

7                THE COURT:     You've kept it straight for a couple of
8     months, so I'm going to give you credit for that, but any time

9     between now and your sentencing date, if there's any stumbles

10    at all, I'm not even going to hesitate.
11               Do you understand?

12               DEFENDANT MURRELL:      Yes, sir.

13               THE COURT:     All right.
14               DEFENDANT MURRELL:      Thank you.

15               THE COURT:     Good luck with your business.        I hope

16    you and your mom get it off the ground.          I will change the
17    decision and I will allow you to remain out on conditions of

18    release and find by clear and convincing evidence that you

19    will not prevent a risk of flight or nonappearance or a danger
20    to this community if allowed to remain out.

21               Where are you going to park your truck?

22               DEFENDANT MURRELL:      By the base in Wichita Falls, by
23    the Air Force base.

24               THE COURT:     Too far for me.     All right.    I'll let my

25    colleagues up there enjoy it.


                       Debbie Saenz, CSR, RMR, CRR, TCRR
                         United States District Court
                                (817) 850-6661
Case 4:20-cr-00244-O Document 67 Filed 01/31/22    Page 43 of 50 PageID 217
                                                                              43



1                All right.     The defendant is ordered released by the
2     marshals after any appropriate processing, I doubt there is

3     any, and the attorneys are excused.

4                COURT SECURITY OFFICER:          All rise.
5                THE COURT:     Good luck, Mr. Murrell.

6                DEFENDANT MURRELL:      Yes, sir.      Thank you.

7                THE COURT:     I don't do that often.
8                (End of Proceedings)

9                            REPORTER'S CERTIFICATE

10         I, Debra G. Saenz, CSR, RMR, CRR, certify that the
      foregoing is a true and correct transcript from the record
11    of proceedings in the foregoing entitled matter.
           Further, due to the COVID-19 pandemic, participants wore
12    masks or were heard via videoconference, so proceedings were
      transcribed to the best of my ability.
13         I further certify that the transcript fees format
      comply with those prescribed by the Court and the Judicial
14    Conference of the United States.
           Signed this 31st day of January, 2022.
15

16                                  /s/ Debra G. Saenz
17                                  DEBRA G. SAENZ, CSR, RMR, CRR
                                    Texas CSR No. 3158
18                                  Official Court Reporter
                                    The Northern District of Texas
19                                  Fort Worth Division
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                         United States District Court
                                (817) 850-6661
                                4:20-CR-244 [1] 4/9                        ALBAND [10] 2/7 2/8 4/22 5/7 16/8
$                               4:20-CR-244-O [1] 1/3                      16/17 18/18 18/24 34/1 35/14
$1 [1] 31/8                     4:20-CR-246 [1] 4/16                       alcohol [1] 15/3
 Case 4:20-cr-00244-O Document
$1 million [1] 31/8
                                      67 Filed 01/31/22
                                4:20-CR-246-O [1] 1/8
                                                                      Page alcoholism
                                                                           44 of 50[1]PageID
                                                                                           14/20
                                                                                                     218
$100 [4] 29/13 30/5 30/15 31/15 4:20-CR-264 [1] 4/20                       all [35] 4/4 4/7 4/15 5/2 5/9 5/11 7/2 7/13
$17,000 [1] 30/20               4:20-CR-264-O [1] 1/13                     8/20 9/1 10/13 13/8 13/16 19/1 19/12
$250,000 [2] 29/21 30/9                                                    21/3 21/10 22/1 22/21 26/4 27/10 29/18
$5 [1] 29/6                     5                                          30/25 31/19 32/23 33/7 38/12 39/9 40/5
$5 million [1] 29/6             50 grams [1] 20/24                         42/1 42/10 42/13 42/24 43/1 43/4
$5,000 [1] 30/17                501 [2] 2/11 43/22                         Allocution [1] 7/24
                                507 [2] 2/11 43/22                         allow [4] 19/23 35/20 39/14 42/17
/                                                                          allowed [2] 5/16 42/20
/s [1] 43/16                       6                                       alone [2] 9/5 31/20
                                   6882 [1] 1/24                           along [1] 12/5
0                                  6th [1] 2/5                             already [1] 8/14
01 [3] 1/5 1/10 1/15                                                       also [6] 13/2 20/6 23/21 30/17 37/6
04 [1] 3/3                         7                                       41/22
                                   75201 [1] 2/3                           am [4] 7/10 20/11 28/9 40/22
1                                  76102 [2] 2/11 43/22                    AMERICA [3] 1/3 1/8 1/13
1/31/2024 [1] 43/21                76102-6882 [1] 1/24                     amount [4] 20/25 22/15 22/19 30/9
10 [2] 25/2 25/21                  76104 [1] 2/9                           answer [1] 6/18
10th [2] 2/11 43/22                76701 [1] 2/6                           answers [2] 6/19 35/18
1130 [1] 2/8                                                               ANTONIO [3] 1/15 4/21 6/8
12 [1] 17/12                       8                                       any [43] 6/18 7/14 8/13 8/23 8/24 9/20
14 [1] 37/8                        801 [1] 1/23                            10/18 10/20 10/25 11/1 12/5 12/6 13/6
14th [2] 39/18 41/19               817.252.5200 [1] 1/24                   14/19 15/3 15/10 15/10 16/1 18/2 18/15
16 [1] 17/11                       817.626.4500 [1] 2/9                    23/23 23/24 26/21 26/21 27/2 27/3
1700 [1] 1/23                      817.850.6661 [2] 2/12 43/23             27/13 28/18 29/9 29/24 30/11 30/12
18 [3] 12/6 30/18 30/20                                                    31/11 32/23 32/23 37/1 37/7 38/2 38/6
19 [5] 1/5 1/10 1/15 4/2 43/11     9
                                                                           42/8 42/9 43/2 43/3
1984 [1] 11/13                     9:00 a.m [1] 37/17                      anyone [6] 10/10 10/21 10/22 26/21 27/2
2                                  A                                       27/12
                                                                           anything [3] 32/24 37/7 40/1
20 [2] 30/9 31/8                   a.m [1] 37/17                           appeal [8] 9/8 12/25 13/3 23/20 23/21
2015 [1] 30/19                     ability [1] 43/12                       25/2 25/6 25/21
2020 [5] 1/5 1/10 1/15 4/2 39/16   able [1] 12/15                          appear [2] 7/25 34/6
2021 [1] 37/17                     abolished [1] 13/5                      appearances [1] 40/6
2022 [1] 43/14                     about [5] 10/10 11/5 32/24 32/24 41/19 appearing [1] 22/25
2024 [1] 43/21                     above [1] 12/22                         appears [1] 18/8
204 [1] 2/5                        accept [4] 24/18 32/14 34/3 36/12       applicable [1] 12/4
2100 [1] 2/2                       accepted [3] 9/19 19/3 27/22            application [1] 36/21
214.220.3111 [1] 2/3               account [1] 12/11                       apply [2] 11/20 23/4
2259A [1] 30/20                    accused [1] 10/4                        appoint [1] 9/2
23 [1] 17/12                       Act [1] 11/13                           appropriate [5] 19/21 21/8 35/16 37/20
244 [1] 4/9                        actually [1] 10/5                       43/2
246 [1] 4/16                       addiction [1] 14/20                     approve [1] 24/18
254.752.9090 [1] 2/6               additional [6] 29/12 30/2 30/14 30/17   are [47]
26 [1] 39/16                       31/12 32/11                             arising [2] 31/19 31/19
264 [1] 4/20                       Address [2] 43/22 43/24                 arraignment [2] 1/18 4/8
29th [1] 30/19                     adjudged [1] 27/22                      arrest [1] 39/16
2:10 [4] 1/6 1/11 1/16 4/2         Administration [1] 7/23                 arrested [1] 39/15
2nd [1] 39/24                      admit [3] 21/3 21/19 22/22              as [37] 9/21 9/21 9/22 10/22 11/14
                                   Admonishments [1] 3/3
3                                  advance [1] 36/24
                                                                           12/23 12/23 17/5 17/19 19/23 20/12
                                                                           20/14 21/6 22/2 22/7 23/24 25/1 25/21
3,000 [1] 30/21                    advice [3] 18/21 23/6 33/21             28/14 28/17 29/18 29/19 30/8 31/2 31/5
30 [1] 38/22                       advisory [1] 11/15                      33/15 35/9 35/20 36/11 36/14 37/13
3014 [1] 30/18                     afford [1] 9/2                          37/14 37/22 38/9 39/10 40/3 42/3
3158 [1] 43/17                     after [8] 12/16 12/20 30/19 38/18 38/19 ask [9] 5/10 13/16 17/20 18/14 20/11
31st [1] 43/14                     38/21 40/25 43/2                        21/12 25/4 27/12 33/8
325 [1] 2/2                        afternoon [3] 4/23 7/22 15/19           asked [1] 36/16
33 [1] 3/4                         again [1] 29/2                          asking [2] 21/23 24/18
34 [1] 13/23                       against [18] 6/10 6/19 8/13 8/21 10/23  assessed [2] 10/23 27/24
3553 [1] 12/7                      11/19 17/4 17/8 17/18 19/13 21/14 23/2 assessment [6] 29/13 30/5 30/15 30/17
36 [1] 3/5                         27/23 33/9 33/13 33/18 36/8 36/11       30/19 31/15
39 [1] 3/6                         agreement [18] 22/6 22/10 22/11 23/18 assist [1] 36/15
3E1.1 [1] 36/21                    23/19 23/23 23/25 24/10 24/19 25/2      assistance [2] 8/25 40/2
3rd [1] 39/24                      25/22 26/4 26/5 26/13 26/20 27/2 32/10 associated [1] 9/22
                                   32/15
4                                                                          assurance [2] 26/21 27/2
                                   agreements [4] 23/14 25/3 27/11 32/14 attempted [1] 27/13
40 [1] 29/7                        agrees [1] 31/18                        attendance [1] 8/24
42 [1] 13/19                       ahead [1] 39/1                          attention [1] 25/3
43 [1] 3/7                         Air [1] 42/23                           attorney [18] 8/1 9/1 9/2 9/2 10/12 10/17
44 [2] 3/8 13/21                   ALAGHEBAND [1] 2/7                      11/18 12/9 17/19 17/21 19/22 20/11
                                        citizen [1] 28/7                         couple [1] 42/7
A                                       citizens [1] 28/14                       court [46]
attorney... [6] 23/2 23/7 25/13 29/3
 Case 4:20-cr-00244-O Document
 36/19 37/6
                                               67 Filed 01/31/22 Page Court's
                                        citizenship [1] 28/17
                                        clear [4] 5/17 39/11 39/21 42/18
                                                                                 45 of [3]  50 3/5PageID
                                                                                                   6/18 12/3
                                                                                 courtroom [2] 37/18 39/8
                                                                                                             219
Attorney's [1] 17/3                     clerk [2] 5/12 37/10                     COVID [1] 43/11
attorneys [3] 38/11 39/6 43/3           client [4] 16/2 16/11 18/15 33/21        COVID-19 [1] 43/11
August [2] 39/15 39/16                  client's [1] 35/8                        COX [9] 2/1 2/2 4/15 5/3 16/4 16/13
August 20 -- no [1] 39/15               cocaine [5] 22/16 22/20 38/23 39/19       33/22 35/10 39/5
August 26 [1] 39/16                      41/18                                   CR [6] 1/3 1/8 1/13 4/9 4/16 4/20
authority [2] 7/13 12/22                coercion [1] 11/1                        credit [1] 42/8
aware [2] 40/14 40/15                   colleagues [1] 42/25                     crime [2] 10/5 10/6
                                        come [5] 38/13 38/17 38/18 41/1 41/1     criminal [1] 11/17
B                                       comments [1] 36/25                       cross [1] 8/20
Bachelor's [1] 14/7                     Commission [1] 11/15                     cross-examine [1] 8/20
BADLEY [60]                             committed [5] 16/25 17/13 21/3 21/19     CRR [3] 2/10 43/10 43/17
Badley's [1] 23/22                       22/22                                   CSR [5] 2/10 43/10 43/17 43/17 43/21
base [2] 42/22 42/23                    community [5] 30/6 31/17 39/13 40/4      CURETON [1] 1/19
based [5] 7/12 10/19 12/24 17/18 35/18 42/20                                     currently [1] 14/10
basis [3] 10/8 34/5 36/9                compel [1] 8/23                          custody [6] 37/19 37/21 37/24 38/10
be [60]                                 compelled [1] 9/3                         39/4 39/24
because [2] 11/3 37/2                   competent [3] 16/2 16/5 36/7
been [16] 6/10 7/22 8/14 11/14 12/17    completed [1] 12/17                      D
 13/5 14/11 14/19 17/19 18/2 18/9 37/11 compliance [7] 37/23 38/14 38/17 38/18 D-A-E-Y-O-N [1] 6/1
 37/22 37/23 41/6 41/20                  41/2 41/7 41/17                         DAEYON [2] 1/5 5/24
before [11] 1/19 8/10 8/11 17/14 23/15 compliance with [1] 38/17                 Dallas [1] 2/3
 34/4 37/17 38/3 39/7 40/8 41/21        comply [1] 43/13                         danger [3] 39/13 40/4 42/19
begin [1] 20/15                         composed [1] 17/11                       date [5] 36/24 37/8 39/16 40/3 42/9
beginning [1] 5/23                      computer [1] 2/16                        day [1] 43/14
behalf [1] 8/24                         conclusions [1] 12/18                    days [2] 37/8 38/23
being [2] 17/2 36/5                     condition [3] 29/9 30/12 34/4            debbie.saenz [2] 2/12 43/24
believe [6] 16/2 16/10 16/25 17/13 40/3 conditions [5] 29/25 37/22 37/24 39/14 DEBRA [4] 2/10 43/10 43/16 43/17
 40/4                                    42/17                                   debrief [1] 41/23
below [1] 12/22                         conduct [2] 7/14 31/19                   decide [2] 10/24 32/13
best [1] 43/12                          conducted [1] 37/2                       decided [1] 10/19
between [3] 12/9 41/18 42/9             conducting [1] 7/11                      decision [2] 7/13 42/17
beyond [1] 9/7                          Conference [1] 43/14                     decision-making [1] 7/13
both [4] 5/18 12/17 29/21 31/8          confinement [4] 29/12 30/2 30/15 31/13 defendant [31] 1/6 1/11 1/16 2/1 2/4 2/7
bound [2] 12/8 32/2                     confront [1] 8/20                         4/22 10/4 10/7 20/12 20/17 20/21 22/9
BRANDIE [2] 1/22 4/14                   connected [1] 10/21                       22/11 22/17 29/5 29/9 29/11 29/24 30/1
briefed [1] 40/11                       connection [1] 38/3                       30/12 30/14 30/16 31/18 34/6 35/19
bring [1] 32/11                         consent [5] 7/12 7/23 7/25 8/1 17/2       36/6 36/11 38/6 38/24 43/1
business [3] 39/7 42/15 43/22           consented [1] 8/10                       defendant's [1] 19/2
                                        consequence [1] 28/20                    defendants [7] 5/2 5/10 5/13 16/19 38/3
C                                       consequences [5] 11/5 29/4 29/16 31/2 38/10 39/8
calculate [1] 12/4                       31/23                                   defense [8] 4/18 16/1 18/14 33/20 35/7
call [2] 4/9 29/2                       consider [3] 11/16 12/5 38/2              37/12 39/21 40/15
called [1] 20/14                        consistent [3] 18/20 33/21 35/8          defer [2] 40/9 40/18
can [3] 12/10 40/16 41/7                conspiracy [2] 22/14 22/18               degree [1] 36/17
cannot [1] 10/5                         Constitution [1] 8/15                    deliver [1] 37/10
capable [1] 36/7                        constitutional [1] 9/11                  DEPARTMENT [1] 1/22
care [1] 14/11                          construed [1] 11/14                      departures [1] 12/5
carefully [2] 20/14 21/13               contact [1] 37/13                        depend [1] 10/20
case [22] 1/3 1/8 1/13 7/12 7/15 10/11  containing [4] 20/24 22/15 22/19 36/10 deprive [1] 28/16
 11/17 11/20 12/16 12/21 17/9 17/18     control [1] 9/5                          DERRICK [4] 1/5 4/10 5/24 39/10
 18/9 20/14 23/4 26/23 27/4 27/14 36/4 controlled [5] 20/18 21/1 22/7 22/16      detectable [3] 20/25 22/15 22/19
 37/3 38/1 40/10                         22/20                                   Detention [1] 3/6
cases [6] 4/7 4/15 23/15 23/24 27/11    convicted [2] 10/7 10/16                 determine [1] 12/15
 34/6                                   conviction [5] 9/9 10/8 28/16 29/4 31/20 determined [1] 12/20
cause [5] 4/9 4/16 4/20 16/24 17/13     convincing [3] 39/12 39/22 42/18         determines [1] 10/6
Center [1] 39/19                        cooperation [1] 36/17                    determining [2] 11/16 12/3
Certificate [2] 3/7 43/9                copy [4] 19/4 19/9 36/23 37/11           did [6] 13/24 25/5 25/13 25/15 26/12
certify [2] 43/10 43/13                 Cornell [1] 6/8                           34/15
challenge [1] 12/18                     correct [2] 34/25 43/10                  difference [1] 38/14
change [2] 32/16 42/16                  correctly [1] 6/9                        difficult [1] 39/22
charge [3] 27/23 29/4 36/8              costs [3] 30/6 30/24 31/16               direct [1] 25/3
charged [10] 6/10 8/13 16/22 16/23 17/2 could [6] 5/10 9/1 9/3 31/12 36/17 41/24 directly [1] 22/5
 17/14 21/14 21/20 22/7 36/11           couldn't [2] 38/16 41/19                 disability [1] 15/11
charges [15] 11/19 17/4 17/8 17/10      counsel [10] 16/1 18/14 23/1 33/20 34/7 discuss [1] 25/13
 17/16 19/13 19/14 19/22 19/24 21/9      35/7 35/19 37/12 37/12 42/3             discussed [4] 9/22 11/18 17/20 23/2
 23/2 27/23 32/12 32/12 36/8            Counseling [1] 39/18                     dismiss [1] 32/12
Cherry [1] 1/23                         count [9] 17/5 17/6 19/4 29/19 30/8 33/9 disregard [1] 12/11
choose [1] 8/13                          33/13 33/16 33/18                       distance [1] 5/20
circumstances [1] 13/2                  Counts [2] 21/20 33/12                   distribute [3] 20/22 22/6 22/7
                                          falsely [1] 6/19                          guarantees [1] 8/16
D                                         familiarity [1] 36/20                     guideline [4] 12/4 12/16 12/20 12/23
district [12] 1/1 1/1 1/23 7/11 7/12 7/14 far [2] 13/24 42/24
 Case 4:20-cr-00244-O Document
 8/10 8/18 32/13 37/3 37/4 43/18
                                                  67 Filed 01/31/22 Page guidelines
                                          February [1] 37/17
                                                                                     46
                                                                                     36/21
                                                                                           of 50[5] PageID
                                                                                                     11/15 11/20 12/6 23/3
                                                                                                               220
DIVISION [2] 1/2 43/19                    February 5 [1] 37/17                      guilt [1] 9/7
do [47]                                   federal [3] 10/6 13/4 13/7                guilty [51]
document [5] 23/17 24/2 24/2 24/18        feel [1] 5/19
 34/17                                    fees [1] 43/13                            H
documents [3] 7/23 23/15 23/25            felony [6] 16/22 16/23 16/25 17/4 28/15 had [6] 12/18 17/19 19/12 24/1 40/1
Does [1] 40/7                              28/16                                     40/1
doing [4] 5/19 15/19 40/19 40/23          few [1] 20/10                             hand [3] 5/11 9/18 12/9
don't [7] 21/7 38/14 38/25 39/6 40/13     fifth [1] 22/17                           hands [1] 41/24
 41/24 43/7                               file [2] 27/11 36/4                       has [17] 4/7 6/10 10/10 11/14 11/15
DONAHUE [10] 2/4 2/5 4/18 5/5 16/6        filed [4] 17/3 17/18 18/9 37/8             12/17 12/20 12/21 13/3 13/5 18/9 26/21
 16/15 18/16 18/22 33/24 35/12            final [1] 7/13                             27/2 27/12 37/11 38/17 40/2
done [3] 11/21 37/4 37/7                  finally [2] 13/4 31/5                     have [53]
doubt [2] 9/7 43/2                        find [4] 8/8 17/12 39/11 42/18            having [2] 33/7 36/20
down [1] 42/2                             Findings [1] 3/5                          he [18] 10/5 38/13 38/17 38/18 38/19
drug [2] 15/3 38/19                       finds [3] 16/23 30/16 36/6                 38/20 38/21 39/12 39/15 39/23 40/2
due [1] 43/11                             fine [6] 29/6 29/21 29/21 30/9 31/8 31/8 40/2 40/5 40/14 40/17 40/17 40/18
during [1] 36/6                           firearm [1] 28/19                          41/23
                                          Firm [1] 2/8                              he's [3] 16/5 40/4 40/4
E                                         first [4] 20/17 22/5 39/25 41/18          hear [6] 5/18 8/20 38/16 39/2 39/4 39/21
E-Mail [2] 2/12 43/24                     flight [3] 39/13 40/5 42/19               heard [3] 10/19 33/7 43/12
each [51]                                 floor [1] 37/18                           hearing [4] 7/11 36/6 37/2 37/9
earlier [1] 36/14                         follow [2] 29/23 31/11                    Henderson [1] 2/8
effect [2] 31/13 32/11                    following [1] 8/16                        here [9] 5/20 10/11 15/19 19/3 19/22
effort [3] 18/3 26/22 27/3                food [4] 40/24 40/25 41/11 41/15           21/24 22/25 35/18 37/5
elements [10] 20/7 20/12 21/3 21/10       force [3] 11/1 27/13 42/23                hereby [1] 36/12
 21/13 21/17 21/20 22/4 22/22 36/10       foregoing [3] 33/7 43/10 43/11            hesitate [1] 42/10
else [1] 10/22                            form [4] 8/1 36/23 37/10 37/11            High [1] 14/3
emotional [1] 15/10                       format [1] 43/13                          him [5] 36/8 37/4 39/14 40/17 41/22
End [1] 43/8                              forms [1] 7/25                            his [11] 29/19 34/7 36/8 38/22 39/14
enforcement [1] 10/21                     FORT [9] 1/2 1/4 1/9 1/14 1/24 2/9 2/11 39/25 39/25 40/5 40/11 40/15 41/24
English [1] 7/3                            43/19 43/22                              hold [1] 28/17
enjoy [1] 42/25                           forth [6] 20/9 20/11 25/21 26/5 31/3 35/8 Honor [15] 4/23 5/1 5/4 16/5 16/9 16/14
enter [6] 8/9 16/2 26/13 26/22 27/3       forward [1] 37/21                          18/19 33/23 35/11 35/15 38/5 38/8 40/9
 33/15                                    found [2] 9/8 37/5                         40/13 42/6
entered [1] 10/13                         fourth [2] 20/23 22/14                    HONORABLE [2] 1/19 37/17
entering [1] 36/7                         free [2] 5/18 26/13                       hope [1] 42/15
enters [1] 4/5                            full [5] 5/22 37/23 41/1 41/7 41/17       hospitalized [1] 14/20
entitled [3] 7/23 23/17 43/11             fully [9] 15/18 16/2 17/22 19/13 23/5     how [7] 11/19 13/18 13/24 23/3 33/9
essential [10] 20/7 20/12 21/3 21/10       24/2 25/5 34/16 36/6                      33/12 33/17
 21/13 21/17 21/20 22/4 22/22 36/10       further [8] 9/20 22/12 29/12 37/14 37/25 however [7] 7/12 10/13 10/16 17/1 19/23
even [3] 12/2 12/13 42/10                  39/7 43/11 43/13                          35/18 37/23
event [1] 12/13
ever [2] 28/18 28/18                      G                                         I
everything [1] 41/8                       gain [1] 30/10                            I'll [5] 38/9 39/1 39/1 39/4 42/24
evidence [6] 8/23 39/12 39/22 41/23       general [1] 8/12                          I'm [10] 29/2 37/3 38/16 39/15 39/17
 42/3 42/18                               Generally [1] 10/4                         40/15 41/14 42/2 42/8 42/10
examine [1] 8/20                          get [2] 20/10 42/16                       I've [3] 13/9 35/18 37/7
exceed [3] 29/20 29/21 31/8               getting [1] 41/6                          II [3] 20/25 22/16 22/20
exceeds [1] 30/4                          give [3] 8/12 36/16 42/8                  III [2] 2/1 2/2
except [1] 10/11                          given [3] 10/17 13/9 36/5                 impose [3] 12/10 12/22 29/13
excused [3] 38/11 39/6 43/3               go [5] 13/24 16/20 23/15 39/1 41/5        imposed [2] 12/23 30/18
exiting [1] 39/8                          going [9] 20/10 20/11 29/2 37/21 41/4     imposes [1] 13/1
expect [2] 32/1 41/17                      42/2 42/8 42/10 42/21                    imprisoned [1] 30/1
Expires [1] 43/21                         good [3] 4/24 42/15 43/5                  imprisonment [11] 13/6 29/7 29/8 29/20
explained [4] 20/7 29/16 31/2 31/23       got [2] 38/18 41/23                        29/22 29/24 30/3 30/8 31/7 31/9 31/11
explanations [2] 11/4 13/8                gotten [1] 41/24                          incarceration [4] 30/7 30/24 31/15 31/16
extent [2] 5/19 39/6                      government [22] 1/3 1/8 1/13 1/22 4/14 include [1] 31/18
                                           4/24 10/12 10/22 12/10 12/17 13/2 17/7 includes [1] 29/20
F                                          17/8 20/8 20/16 24/19 26/5 26/13 32/11 including [1] 8/24
fact [2] 20/19 36/10                       38/4 40/3 40/7                           independent [1] 36/9
factor [1] 36/17                          government's [1] 42/1                     Index [1] 3/8
factors [1] 12/6                          grade [1] 14/9                            indicated [3] 23/1 25/1 36/14
facts [14] 10/11 10/19 12/8 12/11 12/12 graduated [1] 14/2                          indict [1] 17/15
 12/18 12/21 12/24 34/24 35/7 35/9        grams [1] 20/24                           indicted [2] 17/15 17/19
 35/17 35/20 35/21                        grand [8] 16/23 17/1 17/9 17/11 17/12     indictment [14] 6/10 16/24 17/1 17/7
factual [10] 20/9 31/3 34/4 34/5 34/8      17/15 17/17 17/22                         17/10 17/17 17/21 18/3 18/9 18/15 19/2
 34/16 34/25 35/8 35/17 36/4              grant [1] 22/1                             19/10 22/8 33/9
Falls [2] 39/19 42/22                     ground [1] 42/16                          indictment -- in [1] 22/8
false [1] 6/20                            guaranteed [1] 9/11                       indigent [1] 30/16
                                          least [3] 17/11 17/12 31/10              motioning [1] 38/24
I                                         leave [1] 40/18                          MR [5] 2/1 2/4 2/7 16/17 27/19
indirectly [1] 22/6                       legal [2] 23/6 27/25
 Case 4:20-cr-00244-O Document
individual [1] 13/17
                                                  67 Filed 01/31/22 Page Mr.
                                          leniency [1] 10/18
                                                                                   47 [186]
                                                                                         of 50 PageID 221
                                                                                   Mr. Alband [6] 5/7 16/8 18/18 18/24 34/1
induce [3] 18/3 26/22 27/3                less [3] 29/7 29/8 30/21                 35/14
induced [1] 10/25                         let [8] 8/12 13/16 18/14 21/12 39/1 39/3 Mr. Badley [55]
influence [1] 15/2                         41/18 42/24                             Mr. Badley's [1] 23/22
inform [3] 12/2 13/4 28/14                let's [2] 4/9 5/20                       Mr. Cox [6] 5/3 16/4 16/13 33/22 35/10
information [14] 6/10 17/2 17/5 17/6      level [2] 41/23 41/25                    39/5
 17/18 19/5 19/7 21/21 22/8 29/20 33/13 life [1] 30/11                             Mr. Derrick [1] 39/10
 33/16 33/18 36/16                        like [3] 38/22 39/23 39/25               Mr. Donahue [7] 5/5 16/6 16/15 18/16
informations [2] 16/20 17/16              limited [1] 31/19                        18/22 33/24 35/12
informed [1] 36/7                         listen [1] 20/14                         Mr. John [1] 4/18
instruction [1] 37/14                     living [1] 40/19                         Mr. Lopez [53]
instructions [1] 8/12                     LLC [3] 2/8 40/25 41/6                   Mr. Murrell [53]
intent [3] 20/22 22/7 22/12               long [2] 12/23 41/20                     Mr. Navid [1] 4/22
interview [1] 36/20                       longer [1] 31/15                         Mr. Smith's [1] 40/10
investigation [2] 35/9 37/15              look [1] 20/10                           Mr. William [1] 4/15
involved [4] 11/5 20/24 22/15 22/18       looks [2] 39/23 39/24                    MS [2] 1/22 2/10
is [61]                                   LOPEZ [59]                               Ms. [1] 4/14
is -- he [1] 40/2                         loss [1] 30/10                           Ms. Brandie [1] 4/14
issue [1] 40/8                            loud [1] 5/17                            multiple [1] 30/2
issued [1] 11/15                          low [2] 41/23 41/25                      MURRELL [62]
it [38] 4/11 8/1 10/6 11/14 12/3 15/19    lower [2] 5/19 41/4                      must [10] 10/25 11/2 12/2 17/9 17/12
 16/25 17/15 18/8 18/23 18/25 19/21       luck [2] 42/15 43/5                      20/16 29/12 30/17 32/13 37/8
 20/22 23/19 23/24 24/9 25/13 26/24       Lynn [1] 6/5                             my [7] 5/12 5/17 11/4 37/10 41/9 42/24
 32/3 32/16 34/2 34/8 35/16 37/1 37/1                                              43/12
 39/23 39/24 40/11 40/18 41/8 41/19       M
 41/19 41/22 41/24 41/25 42/7 42/16       made [5] 8/14 18/2 19/3 26/21 27/2       N
 42/25                                    MAGISTRATE [2] 1/19 7/24                 name [3] 5/22 5/25 6/9
it's [11] 7/12 7/14 8/14 12/24 23/22 25/2 Mail [2] 2/12 43/24                      narcotic [1] 15/3
 37/20 38/22 38/22 38/23 40/10            make [4] 16/11 31/14 36/25 40/5          narcotics [1] 14/20
its [2] 17/9 22/12                        makes [1] 38/14                          nature [1] 19/14
                                          making [3] 6/20 7/13 37/3                NAVID [2] 2/7 4/22
J                                         mandatory [11] 29/13 29/23 30/4 30/6     need [8] 5/9 5/18 16/20 23/15 26/24
January [1] 43/14                          30/15 30/17 30/21 31/9 31/10 31/15      27/12 28/14 39/11
JEFFREY [1] 1/19                           31/17                                   never [1] 10/20
JOHN [3] 2/4 2/5 4/18                     marijuana [3] 38/22 39/20 41/20          next [1] 41/9
joined [1] 22/11                          marshal [4] 37/20 37/25 38/11 39/4       nice [1] 5/17
judge [24] 1/19 4/5 5/6 7/11 7/13 7/14    marshals [1] 43/2                        no [39] 1/3 1/8 1/13 11/3 14/14 14/16
 7/24 8/10 10/6 16/7 16/16 18/17 18/23 mask [4] 5/16 5/17 5/19 41/4                14/18 14/22 14/24 15/1 15/5 15/7 15/9
 21/7 32/13 33/25 35/13 37/3 37/4 37/17 masks [2] 4/3 43/12                        15/13 15/15 15/17 16/9 18/5 18/7 18/17
 38/7 38/13 39/23 41/22                   matter [7] 9/4 11/19 17/21 19/23 23/3    18/19 27/5 27/7 27/9 27/16 27/18 27/20
judges [1] 11/16                           35/20 43/11                             32/3 33/2 33/4 33/6 38/5 38/7 38/8 38/9
judgment [1] 9/5                          matters [2] 37/16 38/2                   38/9 39/15 41/19 43/17
Judicial [1] 43/13                        maximum [1] 30/4                         nonappearance [2] 39/13 42/19
jumping [1] 42/2                          may [22] 5/14 6/19 8/12 10/14 12/8       NORTHERN [3] 1/1 1/23 43/18
jurors [1] 17/12                           16/23 17/1 28/16 29/10 29/15 29/23      not [52]
jury [10] 8/17 10/8 16/23 17/2 17/9 17/11 29/25 30/3 30/6 30/13 30/19 30/23 31/1 note [4] 23/21 27/10 36/4 36/21
 17/15 17/17 17/22 28/18                   31/17 31/18 31/22 39/22                 now [12] 6/18 15/2 16/19 20/11 29/3
just [11] 5/11 9/22 17/19 18/14 23/22     May 29th [1] 30/19                       31/21 33/8 36/14 39/1 42/2 42/4 42/9
 25/3 29/16 31/2 31/23 39/4 41/19         me [11] 8/11 8/12 13/16 18/14 21/12      Number [3] 4/9 4/16 4/20
JUSTICE [1] 1/22                           23/1 26/24 39/1 39/3 40/17 42/24
                                          mechanical [1] 2/15                      O
K                                         mental [1] 15/11                         O'Connor [1] 37/18
keep [1] 5/20                             mentally [1] 27/12                       oath [2] 5/10 6/18
kept [1] 42/7                             mentioned [1] 12/12                      objections [3] 37/1 37/7 37/8
kind [6] 9/20 11/1 26/21 27/3 28/18       methamphetamine [2] 20/20 20/25          obligation [1] 12/3
 41/11                                    middle [1] 5/25                          occurred [1] 16/25
knew [2] 22/9 22/17                       might [7] 11/20 12/11 12/13 17/15 17/15 occurring [1] 30/19
know [8] 21/7 38/14 38/25 40/10 40/11      23/3 32/1                               OCTOBER [4] 1/5 1/10 1/15 4/2
 40/13 41/16 41/24                        million [2] 29/6 31/8                    off [1] 42/16
knowing [2] 16/11 36/9                    mind [1] 15/18                           offense [10] 8/13 20/7 20/12 21/4 21/13
knowingly [4] 8/9 19/2 20/17 25/20        minute [2] 23/16 41/5                    22/23 28/15 31/20 36/11 39/11
known [1] 22/18                           minutes [1] 20/10                        offenses [5] 16/22 17/14 21/20 30/18
                                          mixture [3] 20/24 22/15 22/19            36/13
L                                         mom [2] 41/11 42/16                      office [5] 2/5 17/3 28/18 37/11 37/13
language [2] 7/3 32/10                    moment [6] 5/11 16/21 39/2 39/5 40/21 officers [1] 10/15
last [1] 14/10                             40/25                                   Offices [1] 2/2
later [1] 6/19                            months [2] 14/11 42/8                    Official [1] 43/18
law [10] 2/2 2/5 2/8 10/21 12/24 29/23    more [8] 17/12 20/24 22/5 29/7 29/22     often [1] 43/7
 30/6 30/22 31/10 31/18                    30/8 31/7 32/1                          Okay [4] 5/14 19/9 27/6 41/16
leash [1] 42/4                            mother [1] 41/9                          old [1] 13/18
                                         prescribed [1] 43/13                   reject [1] 32/15
O                                        presence [2] 10/11 10/15               release [16] 29/8 29/10 29/11 29/22
once [2] 29/2 41/1                       present [9] 4/14 4/15 4/18 4/22 10/13   29/25 30/1 30/3 30/4 30/11 30/13 30/13
 Case 4:20-cr-00244-O Document
one [4] 12/9 17/6 33/9 33/18
                                                67 Filed 01/31/22 Page 48
                                          10/18 17/9 36/19 39/12
                                                                                      of 50 PageID 222
                                                                                 31/9 31/12 31/14 37/23 42/18
one-count [3] 17/6 33/9 33/18            presentence [6] 10/14 12/16 36/15      released [6] 13/6 38/19 38/20 38/21
only [1] 11/3                             36/23 37/10 37/15                      39/23 43/1
open [3] 19/22 21/24 35/18               pressure [1] 11/1                      relevant [1] 31/19
operation [1] 41/9                       prevent [1] 42/19                      rely [1] 10/20
opportunity [3] 10/17 12/18 36/25        probable [2] 16/24 17/13               remain [4] 37/20 39/14 42/17 42/20
order [1] 39/13                          probably [2] 40/11 41/21               remand [2] 37/24 39/3
ordered [2] 36/19 43/1                   probation [3] 10/15 37/11 37/13        remanded [1] 38/10
other [10] 9/18 11/3 12/6 12/10 26/20    proceed [5] 4/25 5/2 5/21 8/11 17/18   remind [1] 37/12
27/1 27/13 28/19 32/12 38/2              proceeding [3] 3/2 5/9 36/14           repeat [1] 26/24
our [3] 11/14 40/24 41/7                 proceedings [6] 2/15 9/1 37/25 43/8    report [8] 10/14 10/15 12/17 12/19 36/15
out [6] 35/17 39/2 39/14 41/18 42/17      43/11 43/12                            36/17 37/3 39/17
42/20                                    process [3] 8/22 11/5 16/21            reported [1] 2/15
outside [1] 10/15                        processing [1] 43/2                    reporter [3] 2/10 5/18 43/18
over [3] 7/13 16/20 23/15                produced [1] 2/16                      Reporter's [2] 3/7 43/9
overall [2] 22/14 31/14                  production [1] 8/23                    representation [1] 23/6
own [1] 26/12                            proffered [1] 42/3                     representatives [1] 10/12
                                         promise [3] 10/20 26/21 27/2           request [1] 17/9
P                                        promises [2] 10/25 18/2                requested [1] 40/14
p.m [4] 1/6 1/11 1/16 4/2                prompted [1] 10/25                     require [3] 29/11 30/14 36/3
PAGE [1] 3/2                             pronounce [1] 36/13                    required [2] 9/6 20/8
pandemic [1] 43/11                       proper [2] 12/15 12/20                 responses [2] 5/18 36/5
paragraph [5] 25/2 25/2 25/4 25/6 25/21 proposes [3] 16/11 20/13 29/5           responsibility [1] 37/13
park [1] 42/21                           propounded [1] 5/15                    restitution [4] 30/5 30/20 31/16 31/18
parole [2] 13/5 13/7                     prosecution [1] 6/20                   result [2] 30/3 31/12
participants [2] 4/3 43/11               prove [3] 9/7 20/8 20/16               resume [7] 20/9 31/3 34/8 34/16 34/25
Paul [1] 2/2                             provided [5] 7/22 27/25 36/24 37/12     35/17 36/4
pecuniary [2] 30/10 30/10                 40/2                                  resumes [2] 34/5 35/8
penalties [4] 29/3 29/15 31/2 31/22      psychiatrist [1] 14/12                 retains [1] 7/13
penalty [3] 10/7 10/18 10/22             public [2] 8/17 28/17                  return [2] 16/24 17/9
pending [2] 32/12 37/25                  punishment [3] 12/10 27/23 27/24       review [1] 10/14
per [1] 30/21                            purely [1] 11/2                        reviewed [1] 21/13
period [6] 29/12 29/20 30/14 31/7 31/12 purpose [2] 22/10 22/13                 revisited [1] 40/14
31/14                                    pursuant [3] 16/20 30/18 30/20         revocation [2] 31/11 31/13
perjury [1] 6/20                         pursue [1] 17/8                        revocations [1] 30/2
permits [1] 41/8                         put [2] 24/9 41/16                     revoke [3] 29/10 29/25 30/13
permitted [1] 12/13                                                             RICKY [3] 1/10 4/16 6/5
persist [1] 8/14                         Q                                      right [42] 4/7 5/9 5/11 8/9 8/17 8/19 8/22
persons [2] 17/12 22/5                   quantity [1] 20/23                      8/25 9/8 9/21 12/25 13/1 13/3 13/16
phonetic [1] 6/8                         question [1] 41/19                      17/1 17/21 17/22 19/1 19/12 20/6 21/10
physically [1] 27/12                     questions [4] 5/15 6/18 13/17 32/24     22/1 22/21 25/21 27/10 28/17 29/18
physician [1] 14/11                                                              30/25 32/3 32/15 32/23 38/18 38/19
placed [1] 5/10                          R                                       38/21 39/1 39/9 42/1 42/2 42/5 42/13
placing [1] 24/17                        raise [1] 5/11                          42/24 43/1
plea [41] 1/18 4/8 7/14 7/23 8/10 8/11   range [6] 12/4 12/5 12/16 12/21 12/23  rights [5] 8/16 9/11 9/22 28/16 28/19
8/14 9/19 10/8 10/24 11/1 12/13 16/3      27/24                                 rise [3] 4/4 38/12 43/4
16/11 16/12 23/14 23/17 23/19 23/23      rather [2] 7/11 37/2                   risk [3] 39/12 40/5 42/19
23/25 23/25 24/1 24/10 25/2 25/21 26/5 Re [1] 3/6                               RMR [3] 2/10 43/10 43/17
26/13 26/20 26/22 27/1 27/3 27/10        reached [1] 22/6                       Room [2] 2/11 43/22
27/22 32/2 32/10 32/14 32/16 33/15       read [11] 7/2 19/12 19/13 19/22 24/1
33/21 36/7 36/8                           24/1 25/5 34/15 34/15 35/17 36/3      S
plead [16] 8/13 8/15 9/18 10/5 10/16     reading [6] 19/24 19/25 21/9 21/24     SAENZ [4] 2/10 43/10 43/16 43/17
10/24 11/2 20/13 27/13 29/5 29/15 31/1 35/21 35/22                              safe [1] 5/19
31/22 33/9 33/12 33/17                   ready [3] 4/24 5/2 5/8                 said [3] 37/4 37/7 41/25
pleading [4] 9/20 11/5 16/20 28/15       rearraignment [2] 1/18 4/8             satisfied [3] 19/1 23/5 36/5
pleas [6] 3/4 10/18 34/3 34/5 36/9 36/12 reason [3] 11/3 16/2 18/15             saving [2] 19/23 35/20
please [3] 4/6 5/16 20/14                reasonable [2] 9/7 12/24               Schedule [3] 20/25 22/16 22/20
pled [1] 36/13                           reasonably [1] 22/17                   scheduled [1] 37/16
plus [1] 29/8                            receive [2] 32/1 36/18                 school [2] 13/25 14/3
point [1] 32/25                          received [5] 19/4 19/9 23/6 35/19 42/3 scope [2] 22/14 22/18
position [3] 40/7 40/11 40/15            recent [1] 36/20                       seated [2] 4/6 5/14
positive [2] 38/19 39/19                 recently [1] 14/19                     second [4] 20/19 22/9 37/18 39/25
possess [2] 22/6 28/18                   record [3] 5/22 39/10 43/10            Section [4] 12/7 30/18 30/20 36/21
possessed [2] 20/17 20/21                Reed [1] 37/18                         see [2] 8/20 23/23
possible [1] 12/5                        refer [1] 23/24                        seeing [1] 39/17
possibly [1] 41/24                       referral [2] 36/23 37/10               sentence [7] 11/16 12/3 12/22 12/23
potential [1] 29/3                       Reform [1] 11/13                        12/25 32/1 36/18
power [1] 8/22                           regard [1] 13/9                        sentenced [2] 13/6 37/16
practicable [1] 37/14                    regarding [2] 35/19 37/14              sentencing [15] 7/15 11/13 11/15 11/19
prepared [2] 10/14 36/15                 regards [1] 40/15                       11/20 12/4 12/6 13/9 23/3 23/3 32/13
                                         superseding [5] 17/5 21/21 29/19 33/13 too [2] 40/18 42/24
S                                         33/16                                  transcribed [1] 43/12
sentencing... [4] 36/16 36/20 36/25 42/9 supervised [12] 29/8 29/10 29/11 29/22 transcript [4] 1/18 2/15 43/10 43/13
 Case 4:20-cr-00244-O Document
September [3] 39/18 39/24 39/24
                                                 67 Filed 01/31/22 Page 49 of 50 PageID 223
                                          29/25 30/3 30/4 30/11 30/13 31/9 31/12 treated [1] 14/20
September 14th [1] 39/18                  31/14                                  trial [8] 8/17 8/19 9/3 9/6 9/20 9/21 9/22
September 2nd [1] 39/24                  supervision [3] 30/7 30/24 31/16         20/9
September 3rd [1] 39/24                  supplements [2] 23/23 23/24             truck [4] 40/24 40/25 41/7 42/21
serve [3] 28/18 29/11 30/14              support [1] 34/5                        true [5] 23/8 34/25 35/9 42/3 43/10
set [7] 4/7 20/9 20/11 25/21 26/5 31/2   supported [1] 36/9                      trying [1] 5/20
 35/8                                    Supreme [1] 11/14                       twice [2] 30/9 30/10
severe [1] 32/1                          sworn [2] 5/12 5/13                     two [6] 17/5 19/4 22/5 33/13 39/8 41/9
severity [1] 36/18                       system [4] 13/5 38/22 41/20 41/21       two-count [3] 17/5 19/4 33/13
short [2] 42/4 42/4
should [6] 10/20 10/24 11/2 18/15 22/18 T                                        U
 41/8                                    Taft [1] 39/18                          U.S [1] 17/19
show [1] 39/15                           take [3] 12/11 38/9 42/2                U.S.C [3] 12/7 30/18 30/20
shows [1] 39/16                          taken [1] 38/18                         UA [2] 39/25 39/25
signature [5] 8/1 18/8 24/9 24/17 34/8   talk [1] 10/10                          UAs [1] 40/1
signed [3] 7/25 34/6 43/14               talked [2] 32/24 40/17                  under [14] 5/10 6/18 11/13 12/5 12/6
silence [1] 38/9                         Telephone [6] 1/24 2/3 2/6 2/9 2/12      12/21 13/2 14/11 15/2 29/23 30/6 30/21
simply [1] 37/12                          43/23                                   31/10 31/17
since [1] 40/3                           tell [3] 37/6 39/1 41/16                understand [29] 6/17 6/21 7/10 7/16
sir [131]                                telling [1] 37/4                         9/10 9/23 11/4 13/8 15/19 17/22 19/14
six [1] 14/10                            Tenth [1] 14/9                           21/2 21/16 22/21 24/2 25/5 27/21 28/1
skip [1] 30/23                           term [17] 29/8 29/10 29/22 29/24 30/1    28/20 29/14 31/1 31/21 31/25 32/17
Smith's [1] 40/10                         30/2 30/3 30/4 30/8 30/10 30/11 30/12   34/16 35/9 41/20 42/4 42/11
so [23] 4/14 5/19 9/20 11/21 12/2 13/5    30/13 31/9 31/11 31/11 31/13           UNITED [23] 1/1 1/3 1/8 1/13 1/19 1/22
 16/20 17/15 17/20 23/15 23/23 28/14     terms [1] 26/4                           4/9 4/16 4/20 7/24 8/15 9/6 11/14 17/3
 37/24 38/23 39/9 39/21 40/3 40/10       test [1] 41/18                           19/22 20/11 28/7 29/3 37/20 37/25
 40/15 41/7 42/2 42/8 43/12              tested [1] 39/19                         38/10 39/10 43/14
social [1] 5/20                          testify [2] 9/4 9/4                     unlawful [2] 22/9 22/12
some [7] 5/15 5/20 8/12 13/2 13/16       tests [1] 38/19                         unless [4] 10/5 13/1 16/23 30/16
 23/15 41/23                             TEXAS [13] 1/1 1/4 1/9 1/14 1/23 1/24 until [1] 12/16
somewhere [1] 27/24                       2/3 2/6 2/9 2/11 43/17 43/18 43/22     up [8] 5/16 30/9 30/11 30/19 32/24
soon [1] 37/13                           than [13] 7/11 17/12 26/20 27/1 29/7     40/18 42/2 42/25
sorry [3] 38/16 39/16 41/14               29/7 29/9 29/22 30/9 30/21 31/8 32/1   upon [7] 7/12 10/8 10/19 10/20 12/24
Soul [1] 41/15                            37/2                                    24/17 29/2
sound [1] 15/18                          Thank [8] 4/6 5/14 5/25 6/3 6/6 14/5    urine [1] 39/18
South [1] 2/8                             42/14 43/6                             use [2] 8/22 41/18
speak [3] 5/16 7/2 38/25                 that [123]                              used [1] 6/19
special [5] 29/13 30/5 30/15 30/17 31/15 That's [1] 38/9
specifically [2] 25/4 36/21              their [1] 21/23                         V
specimen [1] 39/18                       them [3] 35/9 36/3 40/1                 valuable [2] 28/16 28/19
speedy [1] 8/17                          then [7] 8/8 31/5 32/15 33/7 33/17 34/3 verdict [2] 10/8 10/13
spelled [2] 6/1 6/9                       39/17                                  versus [7] 1/4 1/9 1/14 4/10 4/16 4/21
St [1] 2/2                               there [12] 5/15 9/19 17/13 23/14 23/21   39/10
stages [1] 9/1                            32/10 34/4 38/2 39/18 41/5 42/25 43/2 very [4] 4/24 41/22 41/25 42/4
stand [1] 5/11                           there's [5] 16/24 25/1 41/17 41/19 42/9 via [1] 43/12
state [2] 5/22 29/3                      there's a [1] 25/1                      victim [2] 30/21 31/17
stated [1] 34/24                         Therefore [1] 32/13                     victims [1] 30/5
statement [2] 6/20 10/21                 these [6] 7/24 17/8 17/16 20/9 37/16    videoconference [1] 43/12
STATES [23] 1/1 1/3 1/8 1/13 1/19 1/22 41/17                                     violates [3] 29/9 29/24 30/12
 4/9 4/16 4/20 7/24 8/15 9/6 11/15 17/3 they [4] 39/6 40/1 41/22 41/25           VOLUME [1] 1/18
 19/22 20/11 28/7 29/3 37/20 37/25       things [1] 41/17                        voluntarily [4] 8/9 19/3 25/20 26/12
 38/11 39/10 43/14                       Third [2] 20/21 22/11                   voluntary [3] 11/2 16/12 36/9
statute [1] 27/25                        this [26] 5/9 7/11 7/22 8/18 8/23 13/17 vote [1] 28/17
stenography [1] 2/15                      15/19 19/21 20/7 21/7 24/17 26/13 27/1
still [2] 32/2 39/9                       32/24 34/16 35/16 36/6 37/2 37/8 37/24
                                                                                 W
stipulated [3] 12/9 12/11 35/17           39/11 39/17 40/14 40/16 42/20 43/14    Waco [1] 2/6
stipulations [1] 12/12                   those [12] 9/11 9/21 11/19 17/10 19/14 WADE [2] 1/22 4/14
straight [1] 42/7                         21/16 29/15 35/19 37/7 37/24 38/19     waive [14] 9/21 13/1 17/1 17/7 17/17
Street [5] 1/23 2/2 2/5 2/11 43/22        43/13                                   18/3 18/15 19/24 19/25 21/8 21/23
stumbles [1] 42/9                        though [1] 17/19                         25/20 35/20 35/22
subject [3] 29/15 31/1 31/22             threats [2] 11/1 18/2                   waived [1] 8/9
subsequent [1] 40/1                      three [3] 4/7 5/13 41/9                 waiver [7] 18/9 18/20 19/2 23/20 23/21
substance [11] 20/18 20/19 20/21 20/23 through [2] 41/1 41/1                      25/1 25/5
 20/24 21/1 22/7 22/15 22/16 22/19       time [7] 13/17 19/21 19/23 35/16 35/20 waiving [1] 17/21
 22/20                                    37/24 42/8                             want [3] 20/10 25/3 38/25
substantial [1] 40/2                     time-saving [2] 19/23 35/20             was [15] 20/19 38/18 38/19 38/20 38/21
such [10] 8/19 9/3 9/6 18/20 28/17 29/10 title [1] 23/22                          38/22 39/15 39/18 39/23 39/25 40/13
 29/21 29/25 30/13 34/5                  today [3] 8/11 22/25 37/5                40/14 41/21 41/22 41/25
suffer [1] 15/10                         together [2] 41/7 41/23                 way [3] 17/2 27/13 39/25
Suite [2] 1/23 2/2                       told [2] 40/17 41/22                    we [11] 5/1 5/20 23/15 40/3 40/4 40/9
W
we... [5] 40/21 40/25 40/25 41/6 41/7
Case 4:20-cr-00244-O Document 67
we -- after [1] 40/25
                                          Filed 01/31/22   Page 50 of 50 PageID 224
we'll [3] 20/15 41/1 41/8
we're [5] 5/8 15/19 20/9 39/9 40/24
we've [2] 9/22 32/24
wear [2] 5/16 5/17
wearing [1] 4/3
weeks [1] 41/9
well [7] 9/21 36/24 38/21 39/23 40/3
40/19 42/1
were [5] 9/7 32/14 38/19 43/12 43/12
weren't [1] 40/11
what [12] 10/22 15/19 20/8 37/4 37/5
39/1 39/17 40/11 40/19 40/23 41/3
41/11
what's [1] 27/1
when [3] 10/7 41/16 41/18
where [2] 10/11 42/21
whether [4] 9/4 10/7 10/21 32/13
which [13] 9/5 17/14 20/9 28/15 29/4
29/23 30/6 30/21 31/10 31/17 31/18
36/13 39/11
who [4] 7/13 7/14 10/4 10/6
Wichita [2] 39/19 42/22
will [38] 5/15 7/14 9/19 10/10 10/14
10/16 10/17 10/18 10/22 12/15 13/6
16/11 17/18 19/23 22/1 23/24 26/13
27/22 27/23 29/23 31/10 32/11 32/12
33/15 34/3 35/20 36/3 36/15 36/16
36/23 37/10 37/18 39/12 39/21 40/5
42/16 42/17 42/19
willfully [1] 22/12
WILLIAM [3] 2/1 2/2 4/15
willing [1] 21/8
wish [3] 5/16 19/25 35/22
wishes [1] 17/8
withdraw [3] 12/13 32/3 32/16
within [6] 12/22 13/4 14/10 27/24 37/8
41/9
witnesses [2] 8/21 8/24
Word [1] 3/8
wore [1] 43/11
working [3] 40/20 40/24 41/8
WORTH [9] 1/2 1/4 1/9 1/14 1/24 2/9
2/11 43/19 43/22
would [21] 5/22 9/2 9/4 9/4 9/5 9/6 9/8
17/14 19/21 20/8 21/7 21/8 30/1 32/15
35/16 38/23 40/9 40/14 40/17 40/18
41/12
write [1] 7/2
written [5] 18/9 26/5 26/20 27/1 37/3
Y
yahoo.com [2] 2/12 43/24
years [10] 29/7 29/7 29/9 29/21 29/23
 30/9 30/11 30/11 31/8 31/10
yes [132]
you [218]
you'll [3] 32/2 32/2 36/25
you're [4] 17/14 28/15 41/4 42/4
you've [5] 8/10 23/1 24/9 37/23 42/7
your [121]
